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 8                                UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

10      JOHN M. RIST, individually and as
        surviving spouse; CEIARA RIST,
11      individually and as surviving child;
        STORMI RIST, individually and as              Civil Action No.: 5:23-cv-01689-JWH-KK
12      surviving child; SUMMER RIST,
        individually and as surviving child; and as
13      successors-in-interest to Decedent
        JEANNIE RIST,                                     VERIFIED FIRST AMENDED
14                                                              COMPLAINT
                 Plaintiffs,
15                                                        DEMAND FOR JURY TRIAL
           vs.
16
        WALMART INC.; FLORA CLASSIQUE,
17      INC.; MEREDITH CORP.; and RAMESH
        FLOWERS PRIVATE LTD.,
18
                 Defendants.
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 1             Plaintiffs JOHN M. RIST, individually as surviving spouse and as successor-in-

 2     interest to, and Plaintiffs CEIARA RIST, STORMI RIST, and SUMMER RIST,

 3     individually and as surviving children to, Decedent JEANNIE RIST1, hereby file this First

 4     Amended Complaint for Wrongful Death and Survival Damages against the Defendants

 5     alleging as follows:

 6                                       I.       JURISDICTION AND VENUE

 7             1.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332

 8     because the amount in controversy exceeds $75,000.00, exclusive of interest and costs, and

 9     because there is complete diversity of citizenship.

10             2.       Venue is proper in this Court pursuant to (a) 28 U.S.C. § 1391(b)(1) because

11     Defendant Flora Classique, Inc. resides in this judicial district and because all other

12     Defendants are residents of California or are not residents of the United States, (see 28

13     U.S.C. § 1391(c)(2)), and/or (b) 28 U.S.C. § 1391(b)(2) because a substantial part of the

14     events or omissions giving rise to the claims occurred in this judicial district.

15             3.       At all times pertinent to this Complaint, Defendants were and are in the

16     business of designing, manufacturing, marketing, promoting, advertising, and selling the

17     Better Homes and Gardens Essential Oil Infused Aromatherapy Room Spray with

18     Gemstones (“Subject Device”).

19
       1
         The death certificate identifies Decedent by her given name “Jeanne.” However, Decedent referred to herself as “Jeannie,”
       including when filling out official paperwork. Her social security card had her name listed as “Jeannie” as do her medical
20     records. Accordingly, Plaintiffs identify Decedent as “Jeannie.”


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 1            4.     At all times pertinent to this Complaint, Defendants acted in concert in the

 2     designing, manufacturing, marketing, promoting, advertising, and selling of aromatherapy

 3     devices, including the Subject Device. Defendants combined their property and labor in a

 4     joint undertaking for profit, with rights of mutual control over each other, rendering them

 5     jointly liable to Plaintiff.

 6            5.     Defendants regularly transact business in California that includes marketing

 7     and selling aromatherapy devices, derive substantial revenue from their business

 8     transactions in California, and have purposely availed themselves of the privilege of doing

 9     business in California.

10                                           II.   PARTIES

11            6.     Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

12     the Complaint as if fully stated herein.

13            7.     At all relevant times, Plaintiff JOHN M. RIST was and is a resident of the

14     State of Kansas. John Rist is the surviving husband and a successor-in-interest of JEANNIE

15     RIST, deceased.

16            8.     At all relevant times, Plaintiff CEIARA RIST was and is a resident of the State

17     of Kansas. Ceiara Rist is a surviving child of JEANNIE RIST, deceased.

18            9.     At all relevant times, Plaintiff STORMI RIST was and is a resident of the

19     State of Kansas. Stormi Rist is a surviving child of JEANNIE RIST, deceased.

20     //

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 1           10.   At all relevant times, Plaintiff SUMMER RIST was and is a resident of the

 2     State of Kansas. Summer Rist is a surviving child of JEANNIE RIST, deceased.

 3           11.   Plaintiff JOHN M. RIST brings this action as successor-in-interest to the

 4     claims for damages resulting from the personal injuries suffered by JEANNIE RIST,

 5     deceased, as a survival action, pursuant to California Code of Civil Procedure sections

 6     377.30 et seq. In addition, because of their relationship to JEANNIE RIST, deceased,

 7     Plaintiffs JOHN M. RIST, CEIARA RIST, STORMI RIST, and SUMMER RIST join in

 8     this action their wrongful death claims and action, pursuant to California Code of Civil

 9     Procedure sections 377.60, et seq.

10           12.   The Declaration of Successor-in-Interest is attached as Exhibit A.

11           13.   At all relevant times, Defendant WALMART INC. (“Walmart”) was and is a

12     corporation organized and existing under the laws of the State of Delaware, with its

13     principal office in the State of Arkansas. Defendant Walmart is registered to do business

14     in the State of California. Walmart has been served with process via its agent for service

15     of process, C T Corporation System, 330 North Brand Blvd, Suite 700, Glendale,

16     California 91203.

17           14.   At all relevant times, Defendant FLORA CLASSIQUE, INC. (“Flora”) was

18     and is a corporation organized and existing under the laws of the State of California and

19     doing business as a manufacturer, importer, and distributor of home fragrances. Flora has

20     been served with process via its agent for service of process, Marla Merhab Robinson, 1551

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 1     N Tustin Ave, Suite 1020, Santa Ana, CA 92705.

 2           15.    At all relevant times, Defendant MEREDITH CORPORATION was a

 3     corporation organized and existing under the laws of the State of Iowa, with its principal

 4     office in the State of Iowa and doing business as a manufacturer, retailer, seller, and

 5     distributor of home fragrances in the State of California. MEREDITH CORPORATION

 6     was registered to do business in the State of California and filed a certificate of surrender

 7     on November 14, 2022. MEREDITH CORPORATION has been served with process

 8     through the California Secretary of State at 1500 11th Street, 3rd Floor, Room 390,

 9     Sacramento, CA 95814.

10           16.    At all relevant times, Defendant RAMESH FLOWERS PRIVATE LIMITED

11     (“Ramesh Flowers”) was an Indian manufacturing company and supplier of product for

12     Walmart. Ramesh Flowers is the parent company of Defendant Flora Classique, the

13     California-based corporation that participated in the design, manufacture, and importation

14     of the Subject Device. Ramesh Flowers’ business address is A-62, Sipcot Industrial

15     Complex, Tuticorin - 628002, Tamil Nadu, India. Ramesh Flowers has its principal place

16     of business in India. Ramesh Flowers has been served with process through its general

17     manager in the State of California, Flora Classique, Inc., via Flora Classique’s agent for

18     service of process, Marla Merhab Robinson, 1551 N Tustin Ave, Suite 1020, Santa Ana,

19     CA 92705.

20     //

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 1           17.    Plaintiffs are informed and believe and based thereon allege that at all relevant

 2     times Defendants and each of them were the agents, servants, employees, representatives

 3     and/or joint venturers of their co-Defendants and were, as such acting within the course,

 4     scope, and authority of said agency, services, employment, representation, and/or joint

 5     venture in that each and every Defendant, as aforesaid when acting as principal, was

 6     negligent in the selection and hiring of each and every other Defendant as an agent, servant,

 7     employee, representative, and/or joint venturer.

 8           18.    Plaintiffs are informed and believe, and based thereon allege that at all times

 9     mentioned herein each of Defendants, inclusive, and each of them were the agents,

10     servants, employees, and representatives of each of the remaining Defendants and were at

11     all times material hereto acting within the authorized course and scope of said agency,

12     service, employment and/or representation, and/or that all of said acts, conduct, and

13     omissions were subsequently ratified by their respective principals and the benefits thereof

14     accepted by such principals.

15                                III.   FACTUAL ALLEGATIONS

16           19.    Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

17     the Complaint as if fully stated herein.

18                            Burkholderia pseudomallei and Melioidosis

19           20.    Burkholderia pseudomallei is a deadly bacterium found predominately in

20     Southeast Asia. The bacterium is extremely rare in North America. In the United States,

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 1     Burkholderia pseudomallei only occurs naturally in Puerto Rico and the U.S. Virgin

 2     Islands.

 3           21.     Burkholderia pseudomallei is considered a tier 1 select agent according to the

 4     United States Centers for Disease Control and Prevention (“CDC”) and the United States

 5     Department of Agriculture Animal and Plant Health Inspection Service.

 6           22.    Infection with Burkholderia pseudomallei is a serious health risk for death.

 7     Eradication of the organism following infection is difficult. The organism is intrinsically

 8     resistant to many antibiotics. The mortality rate for individuals infected with Burkholderia

 9     pseudomallei has been reported to be as high as 50 percent and 95 percent for patients with

10     the septic form of the infection. Infection with Burkholderia pseudomallei is the causative

11     agent of melioidosis.

12           23.    Melioidosis is found only in individuals who have been exposed to

13     environments containing Burkholderia pseudomallei. The infection is acquired through

14     cutaneous inoculation, inhalation, and aspiration. It is very rare for people to contract the

15     infection from another person. Only approximately a dozen cases of melioidosis are

16     identified each year in the United States and have primarily occurred among travelers and

17     immigrants coming from places where the infection is widespread, such as Southeast Asia.

18           24.    Melioidosis can present with an array of clinical signs and symptoms,

19     including, but not limited to, localized pain or swelling; high fever; ulceration; cough; chest

20     pain; headache; respiratory distress; abdominal discomfort; joint pain; disorientation;

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 1     weight loss; central nervous system/brain infection; seizures, and death. Due to its

 2     nonspecific symptoms, melioidosis can initially be mistaken for other infections or

 3     diseases, which can delay proper treatment.

 4                       The Better Homes and Gardens Aromatherapy Spray

 5           25.    Aromatherapy sprays are marketed to the public as to be effective in relieving

 6     stress, promoting restful sleep, and promoting overall health and well-being. The Subject

 7     Device was this type of aromatherapy device, and it was meant to impart a pleasant smell

 8     to the consumer and to be inhaled or otherwise absorbed by the human body.

 9           26.    Better Homes and Gardens Essential Oil Infused Aromatherapy Room Spray

10     with Gemstones, including the Subject Device, were manufactured in India.

11           27.    In March 2021, an adult in Kansas (JEANNIE RIST) was identified as

12     infected with Burkholderia pseudomallei, a deadly bacterium rarely found in North

13     America, resulting in her hospitalization and death. In May 2021, two other cases of non-

14     travel-related Burkholderia pseudomallei infection were identified: an adult in Minnesota

15     and a four-year-old in Texas. Both of those cases involved extended hospitalizations but

16     were ultimately not fatal. A fourth case of the infection was identified in Georgia in late

17     July 2021, following the individual’s death in the hospital.

18           28.    In or about June 2021, the CDC began working with the Kansas Department

19     of Health and Environment, the Minnesota Department of Health, and the Texas

20     Department of State Health Services to investigate the three cases of Burkholderia

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 1     pseudomallei infection in Kansas, Minnesota, and Texas. The investigation was later

 2     expanded to include the Georgia Department of Public Health based on the identification

 3     of the fourth case of the infection in Georgia in July 2021.

 4           29.    Based on this investigation, the CDC reported in August 2021 that the four

 5     cases of Burkholderia pseudomallei infection closely matched each other, indicating that

 6     they likely shared a common source or cause, which remained unknown.

 7           30.    Based on further investigation over the next few months, the CDC reported

 8     on October 22, 2021, that the source or cause of the infections in the four cases had been

 9     identified as contaminated Better Homes and Garden Essential Oil Infused Aromatherapy

10     Room Spray with Gemstones that was manufactured in India and sold at Walmart stores

11     between February and October 21, 2021.

12           31.    On October 21, 2021, recalls of Better Homes and Gardens Essential Oil

13     Infused Aromatherapy Room Spray with Gemstones in six scents were initiated: Lavender

14     & Chamomile (84140411420); Lemon & Mandarin (84140411421); Lavender

15     (84140411422); Peppermint (84140411423); Lime & Eucalyptus (84140411424); and

16     Sandalwood & Vanilla (84140411425). These sprays were sold at Walmart stores in

17     Georgia, Alabama, Colorado, Florida, Iowa, Illinois, Indiana, Kansas, Minnesota,

18     Missouri, New Mexico, Ohio, Oklahoma, South Carolina, Tennessee, Texas, Utah, and

19     Wisconsin.

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 1                              Jeannie Rist’s Exposure and Death

 2          32.    In early 2021, JEANNIE RIST purchased the Subject Device from a Walmart

 3   located near Wichita, Kansas. On March 13, 2021, after being exposed to the Subject

 4   Device, JEANNIE RIST presented to the Emergency Department of Wesley Woodlawn

 5   Hospital located at 2610 N. Woodlawn Boulevard, Wichita, Kansas 67220, complaining

 6   of shortness of breath and a cough. There, a chest CT scan was performed, which

 7   demonstrated a subsegmental pulmonary emboli. In the following days, JEANNIE RIST

 8   developed worsening encephalopathy, hypotension, and a fever. Blood cultures were

 9   obtained, and she was transferred to the intensive care unit (“ICU”) of the hospital for

10   closer monitoring. In the ICU, JEANNIE RIST developed amenia and required a blood

11   transfusion. Her condition continued to deteriorate rapidly. After her blood cultures were

12   found positive for Burkholderia pseudomallei, JEANNIE RIST was evaluated by an

13   infectious disease physician. JEANNIE RIST developed septic shock that required

14   intubation, mechanical ventilation, and additional units of blood via transfusion. JEANNIE

15   RIST died of melioidosis on or about March 22, 2021.

16                          Plaintiffs’ Discovery of the Causes of Action

            33.    JEANNIE RIST’s sudden illness and death were shocking and bewildering to
17
     Plaintiffs.
18
            34.    At no time prior to her death, or at any time prior to late October or early
19

20   November 2021, were JEANNIE RIST or Plaintiffs ever informed or made aware of the


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 1   cause or source of her fatal Burkholderia pseudomallei infection, or that the infection was

 2   or might have been caused by, or related to, her use of, or exposure to, an aromatherapy

 3   spray. Nor were JEANNIE RIST or Plaintiffs ever informed or made aware, at any time

 4   prior to late October or early November 2021, of any facts or information suggesting, or

 5   that caused them to suspect, that the fatal infection was the result of wrongdoing or that

 6   gave them reason to suspect or investigate whether the infection had been wrongfully

 7   caused.

 8         35.    None of the health care providers involved in the diagnosis, care, and

 9   treatment of JEANNIE RIST’s illness ever informed her or Plaintiffs of the cause or

10   potential cause of her fatal Burkholderia pseudomallei infection. Nor did any of her health

11   care providers ever advise, suggest, or inform JEANNIE RIST or Plaintiffs that the

12   infection was or might have been caused by, or related to, her use of, or exposure to, an

13   aromatherapy spray, or that it was or might have been wrongfully caused.

14         36.   As alleged above, in or about June 2021, the CDC, along with the Kansas

15   Department of Health and Environment, the Minnesota Department of Health, and the

16   Texas Department of State Health Services, initiated an investigation into the source or

17   cause JEANNIE RIST’s Burkholderia pseudomallei infection and the two other cases of

18   the infection identified in Minnesota and Texas in May 2021. The investigation was later

19   expanded to include the Georgia Department of Public Health based on the identification

20   of a fourth case of the infection in Georgia in late July 2021. The investigation continued

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 1   into October 2021, when, on October 22, 2021, the CDC reported that the source or cause

 2   of the infections had been identified as contaminated Better Homes and Garden Essential

 3   Oil Infused Aromatherapy Room Spray with Gemstones that was manufactured in India

 4   and sold at Walmart stores between February and October 21, 2021.

 5         37.    In late October or early November 2021, Plaintiffs were informed by the

 6   Kansas Department of Health and Environment that the source or cause of JEANNIE

 7   RIST’s Burkholderia pseudomallei infection was contaminated Better Homes and Garden

 8   Essential Oil Infused Aromatherapy Room Spray with Gemstones. This was the first time

 9   that Plaintiffs knew or suspected, or had reason to know or suspect, that JEANNIE RIST’s

10   fatal infection had been caused by wrongdoing. At no time prior to receiving this

11   information from the Kansas Department of Health and Environment did Plaintiffs know

12   or suspect, have reason to know or suspect, or have reason to investigate whether JEANNIE

13   RIST’s infection was or might have been wrongfully caused.

14         38.    Accordingly, because Plaintiffs did not know or suspect, or have reason to

15   know or suspect, until late October or early November 2021, that JEANNIE RIST’s illness

16   and death were the result of wrongdoing, Plaintiffs did not discover, or have reason to

17   discover, the causes of action alleged herein until that time, at the earliest.

18                                      Flora Classique’s Role

19         39.    Flora Classique services large retailers, such as Walmart, Ross, Hobby Lobby,

20   Burlington, Bed Bath & Beyond, and Michaels.

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 1         40.    Flora Classique manufactured the Subject Device.

 2         41.    Flora Classique imported the Subject Device into the United States.

 3         42.    Flora Classique participated in the distribution of the Subject Device.

 4         43.    Flora Classique participated in marketing the Subject Device to distributors

 5   and retailers in the United States.

 6         44.    As the product’s manufacturer, Flora Classique participated in, and was

 7   responsible for, the design of the Subject Device.

 8         45.    As the product’s manufacturer, Flora Classique participated in, and was

 9   responsible for, the manufacturing process of the Subject Device.

10         46.    As the product’s manufacturer, Flora Classique participated in, and was

11   responsible for, the assembly of the Subject Device.

12         47.    Flora Classique participated in, and was responsible for, inspection, testing,

13   and quality control in the design, manufacturing, importation, and distribution of the

14   Subject Device in the United States.

15         48.    As a designer, manufacturer, marketer, importer, and distributor of the Subject

16   Device, Flora Classique was required to develop proper design, manufacturing, inspection,

17   testing, quality control, and distribution practices that would prevent contamination of the

18   Subject Device with bacteria, including Burkholderia pseudomallei.

19         49.    The design, manufacturing, inspection, testing, quality control, and

20   distribution practices conducted by Flora Classique were done without proper

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 1   consideration for the presence of bacteria.

 2         50.    Flora Classique was required to develop and follow proper industrial hygiene

 3   practices with respect to the manufacture and distribution of the Subject Device.

 4         51.    Flora Classique failed to develop and follow proper industrial hygiene

 5   practices with respect to the manufacture, inspection, and distribution of the Subject

 6   Device.

 7         52.    At the time the Subject Device left Flora Classique’s possession, the Subject

 8   Device was defective in that its design allowed bacteria, including Burkholderia

 9   pseudomallei, to collect and multiply in the product.

10         53.    Flora Classique knew the Subject Device would be used as a household

11   product, as it was by Plaintiffs, and that consumers, such as Plaintiffs, would likely be

12   exposed to the products.

13         54.    Flora Classique designed the Subject Device in a manner that allowed it to

14   transmit bacteria, including Burkholderia pseudomallei, directly to consumers during

15   routine household use through aerosolization, fluid leakage, and other means.

16         55.    As the manufacturer of the product, Flora Classique was required to eliminate

17   or minimize the potential for contamination, mix-ups, or errors in the manufacture of the

18   Subject Device.

19         56.    These manufacturing requirements include keeping the manufacturing

20   process clean and sanitary and without contaminates, ensuring manufacturing personnel

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 1   are qualified and trained on good manufacturing practices, equipment usage that ensures

 2   the product is contaminate-free, equipment verification, process validation, and complaint

 3   handling.

 4         57.    These manufacturing requirements protect consumers from purchasing or

 5   using a product dangerous to human health. Flora Classique failed to implement and

 6   comply with these manufacturing requirements, including keeping the manufacturing

 7   process clean and sanitary and without contaminates, ensuring manufacturing personnel

 8   are qualified and trained on good manufacturing practices, equipment usage that ensures

 9   the product is contaminant-free, equipment verification, process validation, and complaint

10   handling.

11                                      Ramesh Flowers’s Role

12         58.    Ramesh Flowers is a manufacturer, importer, and distributor of home

13   fragrances, candles, essential oils, and incense in the United States, including in the State

14   of California. Ramesh Flowers is a member of Gala Group, one of the largest

15   manufacturers of candles and scents in the world.

16         59.    Ramesh Flowers actively markets and distributes products such as

17   aromatherapy room sprays, scented candles, diffusers, and potpourri in the State of

18   California and has done so for over a decade. Ramesh Flowers actively marketed its

19   products, including the Subject Device, in the State of California through its California-

20   based location, Flora Classique.

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 1         60.    Ramesh Flowers transacts business in the State of California, either on its own

 2   and/or by and through its subsidiaries and derives substantial revenue from business in the

 3   State of California. Ramesh Flowers derives substantial revenue from goods sold and used

 4   in the State of California, and regularly does or solicits business in California. It also

 5   maintains a facility in Riverside County, California, through which it derives substantial

 6   revenue from goods sold and used by consumers throughout the State of California. Under

 7   California’s long-arm statute (Cal. C.C.P. § 410.10), this Court has personal jurisdiction

 8   over Ramesh Flowers. Defendant Ramesh Flowers derives revenue from sales of its

 9   products, including Better Homes and Gardens aromatherapy products, within the State of

10   California and has purposely availed itself of the privilege of doing business in California.

11   Ramesh Flowers entered into agreements to participate in the design, manufacture, supply,

12   and importation of the Subject Device with its California subsidiary, Defendant Flora

13   Classique. Ramesh Flowers designed, manufactured, supplied, and exported the Subject

14   Device from India in the purposeful direction of the State of California. For the purpose of

15   its business in the United States, Ramesh Flowers’ principal place of business is through

16   its subsidiary and only United States based importer of record, Flora Classique in

17   Wildomar, California.

18         61.    Ramesh Flowers actively participated in the design, manufacture, and supply

19   of the Subject Device in conjunction with its California-based location, Flora Classique,

20   and the direction of Walmart. Under its contractual relationship with Defendant Walmart,

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 1   Ramesh Flowers produced and supplied the Subject Device according to Walmart’s

 2   specifications and exported it to the United States for use by Walmart’s consumers.

 3             62.      Ramesh Flowers is the parent company of Flora Classique. Ramesh Flowers

 4   maintains and controls Flora Classique as its only United States based subsidiary and uses

 5   it as its importer of record for products, including the Subject Device. Flora Classique and

 6   Ramesh Flowers share executives and employees; Pattamadai Sundararaman Suresh is

 7   Gala Group GmbH’s managing director for India, Ramesh Flowers’ CEO, and Flora

 8   Classique’s CEO, CFO, and President, as well as a director for Flora Classique.

 9             63.      Gala Group describes Ramesh Flowers’ relationship with California-based

10   Flora Classique as follows: “Flora Classique Inc., has been a subsidiary of Ramesh Flowers

11   in California for over a decade, which extends its support in activities like marketing,

12   distribution and strategic development in the American sub-continent.” Ramesh Flowers

13   has the same description on its own website. On that same website, Ramesh Flowers also

14   identifies its “international sales office USA” as Flora Classique’s office in Wildomar,

15   California.

16             64.      On its website, Ramesh Flowers makes the following claims:

17             •        That it follows “an integrated management system approach to all

18                      implementations in the company”; 2

19             •        “Successful implementation of all QHSE (Quality, Health, Safety &

20
     2
         See Compliance, RAMESH FLOWERS, https://www.rameshflowers.com/compliance-1-1 (last accessed July 11, 2023).
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 1                   Environment) standards, certified with RVA accreditation [sic] for all

 2                   three standards”; 3

 3           •       “A well trained team of internal auditors conduct audits to ensure all

 4                   systems are in place”;4

 5           •       “A full fledged training team is now in place to give continuous training

 6                   to all employees especially with respect to environment and health &

 7                   safety.”5

 8           •       “Compliant to Stringent ‘International Laws & Standards’ and ratified

 9                   by independent audit agencies”; 6 and,

10           •       Accreditation with QMS ISO 9001:2015, EMS ISO 9001:2015, and

11                   OHSAS ISO 45001:2018; 7

12           65.     Ramesh Flowers engages in marketing, distribution, and strategic

13   development for its products in the United States, including in the State of California.

14           66.     Ramesh Flowers has a location in the United States, and more specifically in

15   the State of California.

16   //

17   //

18   3
       Id.
     4
       Id.
19   5
       Id.
     6
       See Manufacturing + Sales, RAMESH FLOWERS, https://www.rameshflowers.com/manufacturing-sales (last accessed July
     11, 2023).
20   7
       See An Overview | As on March 2020, RAMESH FLOWERS, https://www.rameshflowers.com/an-overview (last accessed July
     11, 2023).
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 1         67.    Ramesh Flowers designed the Subject Device in conjunction with Defendants

 2   Walmart and Flora Classique.

 3         68.    Upon information and belief, the Subject Device was supplied by Ramesh

 4   Flowers and produced at its India-based diffuser production factory. Ramesh Flowers

 5   exported the Subject Device that ultimately injured JEANNIE RIST, deceased, to its only

 6   United States based importer of record, Defendant Flora Classique. In conjunction with

 7   Flora Classique, Ramesh Flowers exported the Subject Device to the United States, and

 8   specifically into the State of California via its importer of record, Flora Classique.

 9         69.    Ramesh Flowers manufactured and supplied the Subject Device in

10   conjunction with Defendants Walmart and Flora Classique.

11         70.    Ramesh Flowers participated in marketing the Subject Device to distributors

12   and retailers in the United States. As the product’s manufacturer, Ramesh Flowers

13   participated in, and was responsible for, the design of the Subject Device.

14         71.    As the product’s manufacturer, Ramesh Flowers participated in, and was

15   responsible for, the manufacturing process of the Subject Device.

16         72.    As the product’s manufacturer, Ramesh Flowers participated in, and was

17   responsible for, the assembly of the Subject Device.

18         73.    Ramesh Flowers participated in, and was responsible for, inspection, testing,

19   and quality control in the design, manufacturing, importation, and distribution of the

20   Subject Device in the United States.

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 1         74.    As a designer, manufacturer, marketer, importer, and distributor of the Subject

 2   Device, Ramesh Flowers was required to develop proper design, manufacturing,

 3   inspection, testing, quality control, and distribution practices that would prevent

 4   contamination of the Subject Device with bacteria, including Burkholderia pseudomallei.

 5         75.    The design, manufacturing, inspection, testing, quality control, and

 6   distribution practices conducted by Ramesh Flowers were done without proper

 7   consideration for the presence of bacteria.

 8         76.    Ramesh Flowers was required to develop and follow proper industrial hygiene

 9   practices with respect to the manufacture and distribution of the Subject Device.

10         77.    Ramesh Flowers failed to develop and follow proper industrial hygiene

11   practices with respect to the manufacture, inspection, and distribution of the Subject

12   Device.

13         78.    At the time the Subject Device left in Ramesh Flowers’s possession, the

14   Subject Device was defective that its design allowed bacteria, including Burkholderia

15   pseudomallei, to collect and multiply in the product.

16         79.    Ramesh Flowers knew the Subject Device would be used as a household

17   product, as it was by Plaintiffs, and that consumers, such as Plaintiffs, would likely be

18   exposed to the products.

19         80.    Ramesh Flowers designed the Subject Device in a manner that allowed it to

20   transmit bacteria, including Burkholderia pseudomallei, directly to consumers during

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 1   routine household use through aerosolization, fluid leakage, and other means.

 2         81.    As the manufacturer of the product, Ramesh Flowers was required to

 3   eliminate or minimize the potential for contamination, mix-ups, or errors in the

 4   manufacture of the Subject Device.

 5         82.    These manufacturing requirements include keeping the manufacturing

 6   process clean and sanitary and without contaminates, ensuring manufacturing personnel

 7   are qualified and trained on good manufacturing practices, equipment usage that ensures

 8   the product is contaminate-free, equipment verification, process validation, and complaint

 9   handling.

10         83.    These manufacturing requirements protect consumers from purchasing or

11   using a product dangerous to human health.

12         84.    Ramesh Flowers failed to implement and comply with these manufacturing

13   requirements, including keeping the manufacturing process clean and sanitary and without

14   contaminates, ensuring manufacturing personnel are qualified and trained on good

15   manufacturing practices, equipment usage that ensures the product is contaminant-free,

16   equipment verification, process validation, and complaint handling.

17                         Walmart’s and Meredith Corporation’s Roles

18         85.    Walmart and Meredith Corporation were engaged in the business of

19   distributing goods, including the Subject Device, to the public.

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 1         86.   Walmart and Meredith Corporation were responsible for the branding,

 2   marketing, and retailing of the Subject Device.

 3         87.   Walmart and Meredith Corporation distributed the Subject Device.

 4         88.   Walmart and Meredith Corporation sold the Subject Device to United States

 5   consumers, including Plaintiffs.

 6         89.   Walmart and Meredith Corporation had an exclusive deal to market and sell

 7   the Subject Device to United States consumers.

 8         90.   Walmart sold the Subject Device directly to Plaintiffs in a “brick and mortar”

 9   Walmart store.

10         91.   Walmart was responsible for selecting and supervising the importer/supplier

11   (Flora Classique) of the Subject Device.

12         92.   Walmart knew it was placing the Subject Device on the market without

13   inspection for defects that could harm United States consumers.

14         93.   Meredith Corporation participated in the distribution and sale of the Subject

15   Device.

16         94.   Walmart and Meredith Corporation played a substantial role in ensuring that

17   the Subject Device was safe for United States consumers, including Plaintiffs.

18         95.   Walmart and Meredith Corporation were in a position to exert pressure on the

19   manufacturers, importers, and distributors of the Subject Device.

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 1         96.    Product to ensure the Subject Device was safe United States consumers,

 2   including Plaintiffs.

 3         97.    Due to the relationship between Walmart, Meredith Corporation, and Flora,

 4   Walmart and Meredith Corporation had a direct link in the chain of distribution of the

 5   Subject Device, acting as powerful intermediaries between Flora Classique and consumers.

 6         98.    Walmart and Meredith Corporation received a financial benefit from selling

 7   Subject Device to United States consumers, including Plaintiffs.

 8         99.    Meredith Corporation knew it was placing the Subject Device on the market

 9   without inspection for defects that could harm United States consumers. Meredith

10   Corporation was responsible for selecting and supervising the importer/supplier (Flora) of

11   the Subject Device.

12         100. Walmart substantially controls the chain of distribution of the Subject Device

13   due to its bargaining power as the largest retailer in the world.

14         101. Meredith Corporation substantially controls the chain of distribution of the

15   Subject Device due to its bargaining power.

16         102. As part of Walmart’s control over the chain of distribution of the product,

17   Walmart requires its suppliers to purchase and maintain Commercial General Liability

18   insurance, Products Liability insurance, and Umbrella/Excess Walmart sets certain quality

19   standards for its product suppliers.

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 1         103. Walmart advertises that it “hold[s] [its] suppliers to the same high These

 2   standards apply to suppliers of Walmart, “including goods for Walmart requires its

 3   suppliers to execute a signed supplier agreement.

 4         104. Walmart has a supplier compliance portal for its suppliers so that suppliers

 5   can review requirements and resources related to supply to Walmart. Walmart has the right

 6   to audit or inspect suppliers at any time to determine whether the suppliers are complying

 7   with the supplier standards.

 8         105. Walmart requires its suppliers to be current on laws, regulations, standards,

 9   industry best practices, conditions of sale, and scientific knowledge.

10         106. Walmart required certain suppliers to “disclose to Walmart how and where

11   those products are made and who is making them.”

12         107. Walmart requires its suppliers to implement procedures to monitor

13   compliance with laws, policies, and Walmart’s own supplier standards.

14         108. Walmart’s supplier standards were insufficient to ensure that the Subject

15   Device was safe for consumers.

16         109. Walmart failed to enforce its own supplier standards with respect to the

17   Subject Device, thereby causing a defective and dangerous product to be sold to United

18   States consumers, including Plaintiffs.

19         110. Walmart and Meredith Corporation failed to ensure that the Subject Device

20   was designed, manufactured, imported, assembled, and tested in a manner that would

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 1   ensure the product was safe for human use and exposure.

 2         111. Walmart and Meredith Corporation failed to properly monitor product safety

 3   issues with respect to the Subject Device. Walmart and Meredith Corporation failed to

 4   properly monitor the Subject Device to ensure the product and its manufacturing process

 5   met recognized safety standards.

 6         112. Walmart and Meredith Corporation failed to properly monitor the Subject

 7   Device for product specification deviations, contaminates, or microbiological hazards that

 8   made the subject product unsafe for consumers.

 9                                 IV.    CAUSES OF ACTION

10   A.    Count One: Strict Product Liability—Flora Classique and Ramesh Flowers—

11         Design Defect

12         113. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

13   the Complaint as if fully stated herein.

14         114. At all times relevant, Flora Classique and Ramesh Flowers were engaged in

15   the design, development, testing, manufacture, assembly, promotion, marketing,

16   distribution, and/or sale of the Subject Device.

17         115. The Subject Device was defective at the time it was designed, developed,

18   tested, manufactured, assembled, promoted, marketed, distributed, and sold. The Subject

19   Device was defective in that its design allowed it to become contaminated with the rare

20   and deadly Burkholderia pseudomallei which causes melioidosis, a condition that is

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 1   difficult to diagnose and can be fatal.

 2         116. The Subject Device purchased and used by Plaintiffs was expected to reach,

 3   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

 4   substantial change to the condition in which it was distributed and sold by Flora Classique

 5   and Ramesh Flowers.

 6         117. At the time the Subject Device left Flora Classique and Ramesh Flowers’

 7   possession, the Subject Device was defective, and its condition made it unreasonably

 8   dangerous to Plaintiffs, including JEANNIE RIST, deceased. The Subject Device was

 9   defective in that its design allowed bacteria, including Burkholderia pseudomallei, to

10   collect and multiply in the product. Said bacteria could subsequently, and did, come into

11   contact with consumers like JEANNIE RIST, deceased, through aerosolization, fluid

12   leakage, and other means.

13         118. Flora Classique and Ramesh Flowers intended for the Subject Device to be

14   used as a household product, as it was by Plaintiffs.

15         119. Flora Classique and Ramesh Flowers knew or should have known that the

16   Subject Device would be used as a household product, as it was by Plaintiffs.

17         120. The Subject Device was used by Plaintiffs in the manner in which it was

18   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

19   be used as a household product.

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 1         121. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

 2   have discovered the design defects associated with the Subject Device through the exercise

 3   of due diligence, nor could they have been expected to perceive the danger posed by the

 4   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

 5   Plaintiffs and JEANNIE RIST, deceased.

 6         122. The Subject Device, as designed by Flora Classique and Ramesh Flowers,

 7   transmitted bacteria, including Burkholderia pseudomallei, directly to consumers during

 8   routine household use, including JEANNIE RIST, deceased, through aerosolization, fluid

 9   leakage, and other means.

10         123. The foreseeable risks of transmitting bacteria to consumers during household

11   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

12   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

13   producing an alternative design of the Subject Device that is not defective.

14         124. The foreseeable risks of harm posed by the Subject Device could have been

15   reduced or avoided by the adoption of a reasonable alternative design by Flora Classique

16   and Ramesh Flowers, and the omission of an alternative design renders the Subject Device

17   not reasonably safe for its intended use.

18         125. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

19   the Subject Device would not be unreasonably dangerous and defective, and that the

20   product would not cause JEANNIE RIST, deceased, to develop a deadly infection.

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 1            126. The Subject Device used by Plaintiffs as a household product did not perform

 2   as safely as an ordinary consumer would have expected it to perform when used in an

 3   intended or reasonably foreseeable way.

 4            127. The use of the Subject Device as a household product was a substantial factor

 5   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

 6   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

 7   death.

 8            128. As a direct and proximate result of the use of the Subject Device as a

 9   household product and its defective design, JEANNIE RIST, deceased, suffered

10   catastrophic injury, pain and suffering, disability, and death.

11            129. Flora Classique and Ramesh Flowers’ conduct was a substantial factor and

12   proximate cause of the serious personal injuries and death sustained by Plaintiffs’ decedent,

13   JEANNIE RIST. After the initial injury, Decedent JEANNIE RIST survived for an

14   appreciable period of time. Plaintiffs have suffered damage as a direct and proximate result

15   of Defendants’ conduct described herein.

16   B.       Count Two: Strict Liability—Flora Classique and Ramesh Flowers—

17            Manufacturing Defect

18            130. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

19   the Complaint as if fully stated herein.

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 1         131. At all times relevant, Flora Classique and Ramesh Flowers were engaged in

 2   the manufacture and assembly of the Subject Device.

 3         132. The Subject Device was defective in its manufacture in that the product was

 4   exposed to or was allowed to collect or develop Burkholderia pseudomallei at the time that

 5   the product was manufactured and/or shipped.

 6         133. Flora Classique and Ramesh Flowers did not intend for the Subject Device to

 7   be contaminated with deadly bacteria at the time of manufacture and/or assembly.

 8         134. The Subject Device was defective in manufacture in that it differed from Flora

 9   Classique and Ramesh Flowers’ intended result or from other ostensibly identical units of

10   the same line of products in that it contained a deadly bacterium not intended or found in

11   other units of the same product.

12         135. The Subject Device purchased and used by Plaintiffs was expected to reach,

13   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

14   substantial change to the condition in which it was distributed and sold by Flora Classique

15   and Ramesh Flowers.

16         136. At the time the Subject Device left Flora Classique and Ramesh Flowers’

17   possession, the Subject Device was defective, and its condition made it unreasonably

18   dangerous for Plaintiffs, including JEANNIE RIST, deceased.

19         137. The Subject Device was defective in that its manufacture and assembly

20   allowed bacteria, including Burkholderia pseudomallei, to collect and multiply in the

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 1   device. Said bacteria could subsequently, and did, come into contact with consumers, like

 2   JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other means.

 3         138. Flora Classique and Ramesh Flowers intended for the Subject Device to be

 4   used as a household product, as it was by Plaintiffs.

 5         139. Flora Classique and Ramesh Flowers knew or should have known that the

 6   Subject Device would be used as a household product, as it was by Plaintiffs.

 7         140. The Subject Device was used by Plaintiffs in the manner in which it was

 8   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

 9   be used as a household product.

10         141. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

11   have discovered the manufacturing and assembling defects associated with the Subject

12   Device through the exercise of due diligence, nor could they have been expected to

13   perceive the danger posed by the Subject Device. Thus, the dangerous condition of the

14   Subject Device was unknowable to Plaintiffs and JEANNIE RIST, deceased.

15         142. The Subject Device, as manufactured and assembled by Flora Classique and

16   Ramesh Flowers, transmitted bacteria, including Burkholderia pseudomallei, directly to

17   consumers during household use, including JEANNIE RIST, deceased, through

18   aerosolization, fluid leakage, and other means.

19         143. The foreseeable risks of transmitting bacteria to consumers during household

20   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

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 1   Device. The foreseeable risks also far outweigh any cost of manufacturing and assembling

 2   an alternative design of the Subject Device that is not defective.

 3            144. Flora Classique and Ramesh Flowers manufactured and assembled the

 4   Subject Device with bacteria, including Burkholderia pseudomallei, present in and/or on

 5   the product. The contamination occurred on the production line, during manufacture, or

 6   elsewhere while in Flora Classique and Ramesh Flowers’s possession or control.

 7            145. Flora Classique and Ramesh Flowers’ failure to ensure proper sanitation,

 8   failure to ensure proper workmanship, failure to ensure adequate testing, and/or failure to

 9   ensure adequate labeling for the Subject Device caused the product to be manufactured and

10   assembled in a manner that made the product defective and unreasonably dangerous.

11            146. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

12   the Subject Device would not be unreasonably dangerous and defective, and that the

13   product would not cause JEANNIE RIST, deceased, to develop a deadly bacterial infection.

14            147. The use of the Subject Device as a household product was a substantial factor

15   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

16   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

17   death.

18            148. As a direct and proximate result of the use of the Subject Device as a

19   household product and its defective design and manufacture, JEANNIE RIST, deceased,

20   suffered catastrophic injury, pain and suffering, disability, and death.

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 1         149. Flora Classique and Ramesh Flowers’ conduct was a substantial factor and

 2   proximate cause of the serious personal injuries and death sustained by Decedent,

 3   JEANNIE RIST. After the initial injury, Decedent JEANNIE RIST survived for an

 4   appreciable period of time. Plaintiffs have suffered damage as a direct and proximate result

 5   of Defendants’ conduct described herein.

 6   C.    Count Three: Strict Products Liability—Flora Classique and Ramesh

 7         Flowers—Failure to Warn

 8         150. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

 9   the Complaint as if fully stated herein.

10         151. At all times relevant, Flora Classique and Ramesh Flowers were engaged in

11   the design, development, testing, manufacture, assembly, promotion, marketing,

12   distribution, and/or sale of the Subject Device.

13         152. The Subject Device was defective at the time it was designed, manufactured,

14   assembled, distributed, and sold.

15         153. The Subject Device was defective in that its design and manufacture allowed

16   it to become contaminated with deadly bacteria.

17         154. The Subject Device was defective and unreasonably dangerous in that the

18   warnings, instructions, labels, and materials failed to adequately warn distributors,

19   retailers, and consumers about the product’s serious risk of causing infection from

20   aerosolization, fluid leakage, and other means via the product.

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 1         155. Flora Classique and Ramesh Flowers failed to timely and adequately warn

 2   distributors, retailers, and consumers of the Subject Device’s serious risks, including: (i)

 3   that the Subject Device was contaminated with bacteria, specifically Burkholderia

 4   pseudomallei, at the time the product was manufactured, assembled, or imported; (ii) that

 5   the Subject Device could harbor and grow bacteria, including Burkholderia pseudomallei;

 6   and (iii) that bacteria, including Burkholderia pseudomallei, can reach the consumer from

 7   aerosolization, fluid leakage, and other means.

 8         156. The Subject Device purchased and used by Plaintiffs was expected to reach,

 9   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

10   substantial change to the condition in which it was distributed and sold by Flora Classique.

11         157. At the time the Subject Device left Flora Classique and Ramesh Flowers’

12   possession, the Subject Device was defective, and its condition made it unreasonably

13   dangerous for Plaintiffs, including JEANNIE RIST, deceased.

14         158. The Subject Device was defective in that its design and manufacture allowed

15   bacteria, including Burkholderia pseudomallei, to collect and multiply in the device. Said

16   bacteria could subsequently, and did, come into contact with consumers, like JEANNIE

17   RIST, deceased, through aerosolization, fluid leakage, and other means.

18         159. Flora Classique and Ramesh Flowers intended for the Subject Device to be

19   used as a household product, as it was by Plaintiffs.

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 1         160. Flora Classique and Ramesh Flowers knew or should have known that the

 2   Subject Device would be used as a household product, as it was by Plaintiffs.

 3         161. The Subject Device was used by Plaintiffs in the manner in which it was

 4   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

 5   be used as a household product.

 6         162. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

 7   have discovered the design defects associated with the Subject Device through the exercise

 8   of due diligence, nor could they have been expected to perceive the danger posed by the

 9   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

10   Plaintiffs and JEANNIE RIST, deceased.

11         163. The Subject Device, as designed by Defendants, transmitted bacteria,

12   including Burkholderia pseudomallei, directly to consumers during household use,

13   including JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

14   means.

15         164. The foreseeable risks of transmitting bacteria to consumers during household

16   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

17   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

18   producing an alternative design of the Subject Device that is not defective.

19         165. The foreseeable risks of harm posed by the Subject Device could have been

20   reduced or avoided by the adoption of a reasonable alternative design by Flora Classique

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 1   and Ramesh Flowers, and the omission of an alternative design renders the Subject Device

 2   not reasonably safe for its intended use.

 3         166. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

 4   the Subject Device would not be unreasonably dangerous and defective, that Flora

 5   Classique and Ramesh Flowers provided all proper warnings, instructions, and labels

 6   regarding the product, and that the product would not cause JEANNIE RIST, deceased, to

 7   contract a bacterial infection.

 8         167. If Plaintiffs and/or JEANNIE RIST, deceased, had been made aware of the

 9   significant risks of Burkholderia pseudomallei infection associated with the use of the

10   Subject Device, Plaintiffs would not have purchased and used the product in their

11   household.

12         168. As a direct and proximate result of the use of the Subject Device as a

13   household product and its defective design, manufacture, and Flora Classique and Ramesh

14   Flowers’ failure to warn, JEANNIE RIST, deceased, suffered catastrophic injury, pain and

15   suffering, disability, and death.

16         169. Flora Classique and Ramesh Flowers’ conduct was a substantial factor and

17   proximate cause of the serious personal injuries and death sustained by Plaintiffs’

18   Decedent, JEANNIE RIST. After the initial injury, Decedent JEANNIE RIST survived for

19   an appreciable period of time. Plaintiffs have suffered damage as a direct and proximate

20   result of Defendants’ conduct described herein.

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 1   D.      Count Four: Negligence—Flora Classique and Ramesh Flowers

 2           170. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

 3   the Complaint as if fully stated herein.

 4           171. Flora Classique and Ramesh Flowers owed a duty of reasonable care to

 5   Plaintiffs, JEANNIE RIST, deceased, and all reasonably foreseeable users of the Subject

 6   Device, when they designed, imported, tested, assembled, manufactured, and distributed

 7   the Subject Device.

 8           172. This duty of reasonable care required Flora Classique and Ramesh Flowers to

 9   ensure that the product was in full compliance with industry regulations and standards and

10   was not defective or unreasonably dangerous for its intended purpose and other foreseeable

11   uses.

12           173. Flora Classique and Ramesh Flowers breached this duty of care by designing,

13   testing, assembling, manufacturing, importing, and distributing the Subject Device in a

14   manner that made the product defective and unreasonably dangerous for its intended and

15   foreseeable use. This defect stems from the Subject Device’s propensity to permit the

16   colonization and growth of bacteria and the ability of said bacteria to reach the ordinary

17   consumer through aerosolization, fluid leakage, and other means.

18           174. Flora Classique and Ramesh Flowers further breached their duty of care by

19   allowing the Subject Device, including the product used by Plaintiffs, to become

20   contaminated with Burkholderia pseudomallei while still in Flora Classique and Ramesh

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 1   Flowers’ possession, and then sold to the end-user without being properly disinfected.

 2         175. Flora Classique and Ramesh Flowers knew or reasonably should have known

 3   that the Subject Device was dangerous or was likely to be dangerous when used in a

 4   reasonably foreseeable manner.

 5         176. Flora Classique and Ramesh Flowers knew or reasonably should have known

 6   that consumers of the Subject Device would not realize the danger of potential transmission

 7   of deadly bacteria.

 8         177. Flora Classique and Ramesh Flowers failed to adequately warn of the danger

 9   of potential deadly bacterial transmission and failed to adequately instruct on the safe use

10   of the Subject Device.

11         178. A reasonable designer, manufacturer, and distributor under the same or

12   similar circumstances would have warned of the danger and instructed retailers and

13   consumers on the safe use of the Subject Device.

14         179. Flora Classique and Ramesh Flowers owed Plaintiffs and JEANNIE RIST,

15   deceased, a duty of reasonable care to discover these defects and properly, adequately, and

16   timely warn retailers and consumers, including Plaintiffs and JEANNIE RIST, deceased,

17   about these defects.

18         180. Flora Classique and Ramesh Flowers owed a duty to Plaintiffs and JEANNIE

19   RIST, deceased, and all foreseeable users to issue a timely recall of all Better Homes and

20   Gardens aromatherapy products in use throughout the United States when Flora Classique

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 1   became aware that the Subject Device had become contaminated.

 2         181. Flora Classique and Ramesh Flowers breached its duty by failing to timely

 3   recall all Better Homes and Gardens aromatherapy products units, despite its knowledge

 4   that the units had been exposed to deadly bacteria and were possibly contaminated.

 5         182. A reasonable designer, manufacturer, importer, and distributor under the same

 6   or similar circumstances would have recalled the Subject Device, given the potential life-

 7   threatening risks to consumers.

 8         183. Flora Classique and Ramesh Flowers owed Plaintiffs and JEANNIE RIST,

 9   deceased, a duty of reasonable care to follow good manufacturing, assembling, and

10   distributing processes to prevent the Subject Device from becoming contaminated with

11   deadly bacteria.

12         184. Flora Classique and Ramesh Flowers breached its duty by failing to follow

13   good manufacturing, assembling, and distributing processes to prevent its products from

14   becoming contaminated with deadly bacteria.

15         185. Flora Classique and Ramesh Flowers had a duty to act as a prudent supplier

16   of a consumer product meant for human exposure, including to properly test the Subject

17   Device to ensure harmful bacteria was not present.

18         186. Flora Classique and Ramesh Flowers had a duty to understand the product

19   specifications and designs of the Subject Device.

20   //

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 1         187. Flora Classique and Ramesh Flowers had a duty to exercise reasonable care

 2   in selecting a foreign manufacturer of the Subject Device, even in the event Flora Classique

 3   chose itself to be the manufacturer.

 4         188. Flora Classique and Ramesh Flowers had a duty to inspect and test the foreign

 5   manufacturing facilities manufacturing the Subject Device to ensure that the product was

 6   safe for United States consumers.

 7         189. Flora Classique and Ramesh Flowers had a duty to identify quality control

 8   mechanisms in the manufacturing process of the Subject Device to ensure that the product

 9   was safe for United States consumers.

10         190. Flora Classique and Ramesh Flowers had a duty to establish contracts

11   governing the design and production, testing, inspection, and quality control of the Subject

12   Device to ensure that the product would be safe for United States consumers.

13         191. Flora Classique and Ramesh Flowers had a duty to inspect the Subject Device

14   to ensure that no defects existed that would present an unreasonable risk of harm to United

15   States consumers.

16         192. Flora Classique and Ramesh Flowers failed to properly and timely warn

17   importers, distributors, retailers and Plaintiffs and JEANNIE RIST, deceased, about these

18   defects, thereby breaching its duty of care.

19         193. Flora Classique and Ramesh Flowers had a duty to exercise reasonable care

20   in the manufacture of the Subject Device.

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 1        194. Flora Classique and Ramesh Flowers breached each of its duties in the

 2   following ways:

 3        a.    Failing to fully understand its obligations as a manufacturer, distributor,

 4              and importer under the law.

 5        b.    Failing to understand the product specifications and designs of the

 6              Subject Device.

 7        c.    Failing to adhere to Walmart’s supplier requirements.

 8        d.    Failing to exercise reasonable care in selecting a foreign manufacturer

 9              of the subject product.

10        e.    Failing to inspect and test the foreign manufacturing facilities

11              manufacturing the Subject Device.

12        f.    Failing to identify quality control mechanisms in the manufacturing

13              process of the Subject Device to ensure that the product would not

14              become contaminated with a deadly bacterium.

15        g.    Failing to establish contracts governing the design and production,

16              testing, inspection, importation, and quality control of the Subject

17              Device to ensure that the product would not be unreasonably dangerous

18              for United States consumers.

19        h.    Failing to inspect the Subject Device to ensure that no defects existed

20              that would present an unreasonable risk of harm to United States

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 1                consumers.

 2         i.     Failing to understand the product specifications and designs of the

 3                Subject Device.

 4         j.     Failing to exercise reasonable care in the manufacture of the Subject

 5                Device.

 6         k.     Failing to inspect and test the Subject Device to ensure that no defects

 7                existed that would present an unreasonable risk of harm to United States

 8                consumers.

 9         195. As a direct and proximate result of the use of the Subject Device as a

10   household product and Flora Classique and Ramesh Flowers’ negligence, JEANNIE RIST,

11   deceased, suffered catastrophic injury, pain and suffering, disability, and death.

12         196. Flora Classique and Ramesh Flowers’ conduct was a substantial factor and

13   proximate cause of the serious personal injuries and death sustained by Plaintiffs’

14   Decedent, JEANNIE RIST. After the initial injury, Decedent JEANNIE RIST survived for

15   an appreciable period of time. Plaintiffs have suffered damage as a direct and proximate

16   result of Defendants’ conduct described herein.

17   E.    Count Five: Strict Product Liability—Walmart—Design Defect

18         197. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

19   the Complaint as if fully stated herein.

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 1         198. At all relevant times, Walmart was a corporation engaged in the business of

 2   marketing, distributing, and selling consumer products, including the Subject Device.

 3         199. As the distributor and retailer of the Subject Device that played a pivotal role

 4   in bringing the product to the United States consumer, Walmart is responsible for the

 5   design and manufacture of the subject product.

 6         200. The Subject Device was defective at the time it was designed, manufactured,

 7   assembled, distributed, and sold. The Subject Device was defective in that its design

 8   allowed it to become contaminated with the rare and deadly Burkholderia pseudomallei

 9   which causes melioidosis, a condition that is difficult to diagnose and can be fatal.

10         201. The Subject Device purchased and used by Plaintiffs was expected to reach,

11   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

12   substantial change to the condition in which it was distributed and sold by Walmart.

13         202. At the time the Subject Device left Walmart’s possession, the Subject Device

14   was defective, and its condition made it unreasonably dangerous to Plaintiffs, including

15   JEANNIE RIST, deceased.

16         203. The Subject Device was defective in that its design allowed bacteria,

17   including Burkholderia pseudomallei, to collect and multiply in the product. Said bacteria

18   could subsequently, and did, come into contact with consumers like JEANNIE RIST,

19   deceased, through aerosolization, fluid leakage, and other means.

20   //

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 1         204. Walmart intended for the Subject Device to be used as a household product,

 2   as it was by Plaintiffs.

 3         205. Walmart knew or should have known that the Subject Device would be used

 4   as a household product, as it was by Plaintiffs.

 5         206. The Subject Device was used by Plaintiffs in the manner in which it was

 6   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

 7   be used as a household product.

 8         207. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

 9   have discovered the design defects associated with the Subject Device through the exercise

10   of due diligence, nor could they have been expected to perceive the danger posed by the

11   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

12   Plaintiffs and JEANNIE RIST, deceased.

13         208. The Subject Device, as designed, transmitted bacteria, including Burkholderia

14   pseudomallei, directly to consumers during routine household use, including JEANNIE

15   RIST, deceased, through aerosolization, fluid leakage, and other means.

16         209. The foreseeable risks of transmitting bacteria to consumers during household

17   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

18   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

19   producing an alternative design of the Subject Device that is not defective.

20   //

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 1            210. The foreseeable risks of harm posed by the Subject Device could have been

 2   reduced or avoided by the adoption of a reasonable alternative design by Walmart, and the

 3   omission of an alternative design renders the Subject Device not reasonably safe for its

 4   intended use.

 5            211. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

 6   the Subject Device would not be unreasonably dangerous and defective, and that the

 7   product would not cause JEANNIE RIST, deceased, to develop a deadly infection.

 8            212. The Subject Device used by Plaintiffs as a household product did not perform

 9   as safely as an ordinary consumer would have expected it to perform when used in an

10   intended or reasonably foreseeable way.

11            213. The use of the Subject Device as a household product was a substantial factor

12   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

13   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

14   death.

15            214. As a direct and proximate result of the use of the Subject Device as a

16   household product and its defective design, JEANNIE RIST, deceased, suffered

17   catastrophic injury, pain and suffering, disability, and death.

18            215. Walmart’s conduct was a substantial factor and proximate cause of the serious

19   personal injuries and death sustained by Plaintiffs’ decedent, JEANNIE RIST. After the

20   initial injury, Decedent JEANNIE RIST survived for an appreciable period of time.

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 1   Plaintiffs have suffered damage as a direct and proximate result of Defendants’ conduct

 2   described herein.

 3   F.    Count Six: Strict Product Liability—Walmart—Manufacturing Defect

 4         216. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

 5   the Complaint as if fully stated herein.

 6         217. At all times relevant, Walmart was engaged in the marketing, distribution, and

 7   sale of the Subject Device.

 8         218. As the distributor and retailer of the Subject Device that played a pivotal role

 9   in bringing the product to the United States consumer, Walmart is responsible for the

10   design and manufacture of the subject product.

11         219. The Subject Device was defective in its manufacture in that the product was

12   exposed to or was allowed to collect or develop Burkholderia pseudomallei at the time that

13   the product was manufactured and/or shipped. Walmart did not intend for the Subject

14   Device to be contaminated with deadly bacteria at the time of manufacture and/or

15   assembly.

16         220. The Subject Device was defective in manufacture in that it differed from the

17   intended result or from other ostensibly identical units of the same line of products in that

18   it contained a deadly bacterium not intended or found in other units of the same product.

19         221. The Subject Device purchased and used by Plaintiffs was expected to reach,

20   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

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 1   substantial change to the condition in which it was distributed and sold by Walmart.

 2         222. At the time the Subject Device left Walmart’s possession, the Subject Device

 3   was defective, and its condition made it unreasonably dangerous for Plaintiffs, including

 4   JEANNIE RIST, deceased.

 5         223. The Subject Device was defective in that its manufacture and assembly

 6   allowed bacteria, including Burkholderia pseudomallei, to collect and multiply in the

 7   device. Said bacteria could subsequently, and did, come into contact with consumers, like

 8   JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other means.

 9         224. Walmart intended for the Subject Device to be used as a household product,

10   as it was by Plaintiffs.

11         225. Walmart knew or should have known that the Subject Device would be used

12   as a household product, as it was by Plaintiffs.

13         226. The Subject Device was used by Plaintiffs in the manner in which it was

14   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

15   be used as a household product.

16         227. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

17   have discovered the manufacturing and assembling defects associated with the Subject

18   Device through the exercise of due diligence, nor could they have been expected to

19   perceive the danger posed by the Subject Device. Thus, the dangerous condition of the

20   Subject Device was unknowable to Plaintiffs and JEANNIE RIST, deceased.

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 1         228. The Subject Device, as manufactured and assembled, transmitted bacteria,

 2   including Burkholderia pseudomallei, directly to consumers during household use,

 3   including JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

 4   means.

 5         229. The foreseeable risks of transmitting bacteria to consumers during household

 6   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

 7   Device. The foreseeable risks also far outweigh any cost of manufacturing and assembling

 8   an alternative design of the Subject Device that is not defective.

 9         230. The Subject Device was manufactured and assembled with bacteria, including

10   Burkholderia pseudomallei, present in and/or on the product.

11         231. Walmart’s failure to ensure proper sanitation, failure to ensure proper

12   workmanship, failure to ensure adequate testing, and/or failure to ensure adequate labeling

13   for the Subject Device caused the product to be manufactured and assembled in a manner

14   that made the product defective and unreasonably dangerous.

15         232. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

16   the Subject Device would not be unreasonably dangerous and defective, and that the device

17   would not cause JEANNIE RIST, deceased, to develop a deadly bacterial infection.

18         233. The use of the Subject Device as a household product was a substantial factor

19   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

20   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

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 1   death.

 2            234. As a direct and proximate result of the use of the Subject Device as a

 3   household product and its defective design and manufacture, JEANNIE RIST, deceased,

 4   suffered catastrophic injury, pain and suffering, disability, and death.

 5            235. Walmart’s conduct was a substantial factor and proximate cause of the serious

 6   personal injuries and death sustained by Plaintiffs' Decedent, JEANNIE RIST. After the

 7   initial injury, Decedent JEANNIE RIST survived for an appreciable period of time.

 8   Plaintiffs have suffered damage as a direct and proximate result of Defendants’ conduct

 9   described herein.

10   G.       Count Seven: Strict Products Liability—Walmart—Failure to Warn

11            236. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

12   the Complaint as if fully stated herein.

13            237. At all times relevant, Walmart was engaged in the promotion, marketing,

14   distribution, and/or sale of the Subject Device. As the distributor and retailer of the Subject

15   Device that played a pivotal role in bringing the product to the United States consumer,

16   Walmart is responsible for the design, manufacture, and warnings of the subject product.

17            238. The Subject Device was defective at the time it was designed, manufactured,

18   assembled, distributed, and sold.

19            239. The Subject Device was defective in that its design and manufacture allowed

20   it to become contaminated with deadly bacteria.

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 1         240. The Subject Device was defective and unreasonably dangerous in that the

 2   warnings, instructions, labels, and materials failed to adequately warn distributors,

 3   retailers, and/or consumers about the product’s serious risk of causing infection from

 4   aerosolization fluid leakage, and other means via the product.

 5         241. Walmart failed to timely and adequately warn consumers of the Subject

 6   Device’s serious risks, including: (i) that the Subject Device was contaminated with

 7   bacteria, specifically, Burkholderia pseudomallei, at the time the product was

 8   manufactured, assembled, or imported; (ii) that the Subject Device could harbor and grow

 9   bacteria, including Burkholderia pseudomallei; and (iii) that bacteria, including

10   Burkholderia pseudomallei, can reach the consumer through aerosolization, fluid leakage,

11   and other means.

12         242. The Subject Device purchased and used by Plaintiffs was expected to reach,

13   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

14   substantial change to the condition in which it was distributed and sold by Walmart.

15         243. At the time the Subject Device left Walmart’s possession, the Subject Device

16   was defective, and its condition made it unreasonably dangerous for Plaintiffs, including

17   JEANNIE RIST, deceased.

18         244. The Subject Device was defective in that its design and manufacture allowed

19   bacteria, including Burkholderia pseudomallei, to collect and multiply in the device. Said

20   bacteria could subsequently, and did, come into contact with consumers, like JEANNIE

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 1   RIST, deceased, through aerosolization, fluid leakage, and other means.

 2         245. Walmart intended for the Subject Device to be used as a household product,

 3   as it was by Plaintiffs.

 4         246. Walmart knew or should have known that the Subject Device would be used

 5   as a household product, as it was by Plaintiffs.

 6         247. The Subject Device was used by Plaintiffs in the manner in which it was

 7   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

 8   be used as a household product.

 9         248. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

10   have discovered the design defects associated with the Subject Device through the exercise

11   of due diligence, nor could they have been expected to perceive the danger posed by the

12   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

13   Plaintiffs and JEANNIE RIST, deceased.

14         249. The Subject Device, as designed by Defendants, transmitted bacteria,

15   including Burkholderia pseudomallei, directly to consumers during household use,

16   including JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

17   means.

18         250. The foreseeable risks of transmitting bacteria to consumers during household

19   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

20   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

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 1   producing an alternative design of the Subject Device that is not defective.

 2            251. The foreseeable risks of harm posed by the Subject Device could have been

 3   reduced or avoided by the adoption of a reasonable alternative design by Defendants, and

 4   the omission of an alternative design renders the Subject Device not reasonably safe for its

 5   intended use.

 6            252. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

 7   the Subject Device would not be unreasonably dangerous and defective, that Walmart

 8   provided all proper warnings, instructions, and labels regarding the product, and that the

 9   product would not cause JEANNIE RIST, deceased, to contract a bacterial infection.

10            253. If Plaintiffs and/or JEANNIE RIST, deceased, had been made aware of the

11   significant risks of Burkholderia pseudomallei infection associated with the use of the

12   Subject Device, Plaintiffs would not have purchased and used the product in their

13   household.

14            254. As a direct and proximate result of the use of the Subject Device as a

15   household product and its defective design, manufacture, and Walmart’s failure to warn,

16   JEANNIE RIST, deceased, suffered catastrophic injury, pain and suffering, disability, and

17   death.

18            255. Walmart’s conduct was a substantial factor and proximate cause of the serious

19   personal injuries and death sustained by Plaintiffs’ Decedent, JEANNIE RIST. After the

20   initial injury, Decedent JEANNIE RIST survived for an appreciable period of time.

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 1   Plaintiffs have suffered damage as a direct and proximate result of Defendants’ conduct

 2   described herein.

 3   H.    Count Eight: Negligence—Walmart

 4         256. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

 5   the Complaint as if fully stated herein.

 6         257. Walmart owed a duty of reasonable care to Plaintiffs, JEANNIE RIST,

 7   deceased, and all reasonably foreseeable users of the Subject Device, when it marketed,

 8   imported, distributed, and sold the Subject Device.

 9         258. This duty of reasonable care required Walmart to ensure that the Subject

10   Device was safely designed, manufactured, imported, distributed, tested, and sold.

11         259. Walmart had a duty to ensure that its supplier was in full compliance with

12   industry regulations and standards in the manner it designed, manufactured, imported, and

13   distributed the Subject Device, and to ensure that the product and was not defective or

14   unreasonably dangerous for its intended purpose and other foreseeable uses.

15         260. Prior to, on, and after the date that the Subject Device was sold to Plaintiffs,

16   and at all relevant times, Walmart warranted, distributed, and sold the Subject Device for

17   use by consumers, such as Plaintiffs.

18         261. Walmart breached its duties and was negligent and careless in its marketing,

19   importing, distributing, and sale of the Subject Device, and failed to use due care to avoid

20   exposing consumers, including JEANNIE RIST, deceased, and Plaintiffs, to dangerous

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 1   bacteria when the product was used in a reasonably foreseeable manner.

 2         262. Walmart was negligent and careless in and about its selection, supervision,

 3   and retention of suppliers of the Subject Device.

 4         263. Walmart owed Plaintiffs and JEANNIE RIST, deceased, a duty of reasonable

 5   care to discover these defects and properly, adequately, and timely warn consumers,

 6   including Plaintiffs and JEANNIE RIST, deceased, about these defects.

 7         264. Walmart failed to use reasonable care to discover the defects and properly,

 8   adequately, and timely warn Plaintiffs and JEANNIE RIST, deceased, about these defects,

 9   thereby breaching its duty of care.

10         265. Walmart failed to adequately warn of the danger of potential bacterial

11   transmission and failed to adequately instruct on the safe use of the Subject Device.

12         266. A reasonable distributor, importer, and retailer under the same or similar

13   circumstances would have warned of the danger and instructed on the safe use of the

14   Subject Device.

15         267. Walmart was negligent and careless in that its product lacked warnings and

16   instructions regarding the propensity of the Subject Device to become contaminated with

17   deadly bacteria, and thereby caused harm or injury to consumers, including JEANNIE

18   RIST, deceased, and Plaintiffs.

19         268. Prior to, on, and after the date that the Subject Device was purchased, and at

20   all relevant times, Walmart performed inadequate inspection, testing, and evaluation of the

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 1   product where such inspection and evaluation would have revealed the Subject Device’s

 2   contamination and potential to cause harm or injury to consumers, including JEANNIE

 3   RIST, deceased.

 4           269. Walmart further breached its duty of care by allowing the Subject Device,

 5   including the product used by Plaintiffs, to remain contaminated with Burkholderia

 6   pseudomallei while still in the possession and control of Walmart, and then sold to the end-

 7   user.

 8           270. Walmart knew or reasonably should have known that the Subject Device was

 9   dangerous or was likely to be dangerous when used in a reasonably foreseeable manner.

10           271. Walmart knew or reasonably should have known that users of the Subject

11   Device would not realize the danger of potential transmission of deadly bacteria to the

12   consumer.

13           272. Walmart owed a duty to Plaintiffs and JEANNIE RIST, deceased, and all

14   foreseeable users to issue a timely recall of all Better Homes and Gardens aromatherapy

15   products in use throughout the United States when it became aware that the Subject Device

16   was contaminated.

17           273. Walmart breached its duty by failing to timely recall the Subject Device,

18   despite its knowledge that the product had been exposed to deadly bacteria and was

19   possibly contaminated.

20   //

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 1         274. A reasonable importer, distributor, and retailer under the same or similar

 2   circumstances would have recalled the Subject Device, given the potential risks to

 3   consumers.

 4         275. Walmart owed Plaintiffs and JEANNIE RIST, deceased, a duty of reasonable

 5   care to ensure the manufacturers and importers of the Subject Device follow good

 6   manufacturing, assembling, and distributing processes so as to prevent the Subject Device

 7   from becoming contaminated with deadly bacteria.

 8         276. Walmart breached its duty by failing to ensure the manufacturers and

 9   importers of the Subject Device follow good manufacturing, assembling, and distributing

10   processes to prevent the Subject Device from becoming contaminated with deadly bacteria.

11         277. In its role as a distributor and retailer of the Subject Device, Walmart had a

12   duty to fully understand the product specifications and designs of the Subject Device.

13         278. In its role as a distributor and retailer of the Subject Device, Walmart had a

14   duty to exercise due care in selecting a reasonably careful manufacturer and importer of

15   the subject product.

16         279. In its role as a distributor and retailer of the Subject Device, Walmart had a

17   duty to inspect the foreign manufacturing facilities that manufactured the Subject Device

18   to ensure that the product was safe for United States consumers.

19         280. In its role as a distributor and retailer of the Subject Device, Walmart had a

20   duty to identify quality control mechanisms in the manufacturing and importing process of

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 1   the Subject Device to ensure that the product was safe for United States consumers.

 2         281. In its role as a distributor and retailer of the Subject Device, Walmart had a

 3   duty to establish contracts and enforcement mechanisms in the contract that governed the

 4   design and production, testing, inspection, and quality control of the Subject Device to

 5   ensure that the product was safe for United States consumers.

 6         282. In its role as a distributor and retailer of the Subject Device, Walmart had a

 7   duty to inspect the Subject Device to ensure that no defects existed that would present an

 8   unreasonable risk of harm to consumers in the United States.

 9         283. Walmart breached each of its duties as a distributor and retailer of the Subject

10   Device in the following ways:

11         a.    Failing to understand the product specifications and designs of the

12               Subject Device.

13         b.    Failing to exercise due care in selecting a foreign manufacturer and

14               importer of the subject product.

15         c.    Failing to inspect and test the foreign manufacturing facilities that

16               would be manufacturing the Subject Device.

17         d.    Failing to identify quality control mechanisms in the manufacturing and

18               importing process of the Subject Device to ensure that the product

19               would not become contaminated with deadly bacteria.

20   //

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 1         e.     Failing to establish contracts and enforcement mechanisms in the

 2                contracts that governed the design and production, testing, inspection,

 3                and quality control of the Subject Device to ensure that the product

 4                would not be unreasonably dangerous for United States consumers.

 5         f.     Failing to inspect the Subject Device to ensure that no defects existed

 6                that would present an unreasonable risk of harm to United States

 7                consumers.

 8         284. As a direct and proximate result of the use of the Subject Device as a

 9   household product and Walmart’s negligence, JEANNIE RIST, deceased, suffered

10   catastrophic injury, pain and suffering, disability, and death.

11         285. Walmart’s conduct was a substantial factor and proximate cause of the serious

12   personal injuries and death sustained by Plaintiffs’ Decedent, JEANNIE RIST. After the

13   initial injury, Decedent JEANNIE RIST survived for an appreciable period of time.

14   Plaintiffs have suffered damage as a direct and proximate result of Defendants’ conduct

15   described herein.

16   I.    Count Nine: Breach of Implied Warranty—Walmart

17         286. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

18   the Complaint as if fully stated herein.

19         287. At all relevant and material times, Walmart manufactured, distributed,

20   advertised, promoted, and sold the Subject Device.

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 1           288. At all relevant times, Walmart intended its Subject Device be used in the

 2   manner that Plaintiffs in fact used them.

 3           289. Walmart impliedly warranted its Subject Device to be of merchantable

 4   quality, safe and fit for the use for which the Walmart intended them and Plaintiff in fact

 5   used.

 6           290. Walmart breached its implied warranties as follows:

 7                 a.    Walmart failed to provide the warning or instruction and/or an

 8                       adequate warning or instruction which a manufacturer or

 9                       distributor exercising reasonable care would have provided

10                       concerning that risk, in light of the likelihood that its Subject

11                       Device would cause harm.

12                 b.    Walmart manufactured and/or sold the Subject Device and said

13                       product did not conform to representations made by Walmart

14                       when it left Walmart’s control.

15                 c.    Walmart manufactured and/or sold its Subject Device which was

16                       more dangerous than an ordinary consumer would expect when

17                       used in an intended or reasonably foreseeable manner, and the

18                       foreseeable risks associated with the product or formulation

19                       exceeded the benefits associated with that design.

20           291. These defects existed at the time the product left Walmart’s control.

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 1         292. Walmart manufactured and/or sold its Subject Device when it deviated in a

 2   material way from the design specifications, formulas or performance standards or form

 3   otherwise identical products manufactured to the same design specifications, formulas, or

 4   performance standards, and these defects existed at the time the product left Walmart’s

 5   control.

 6         293. The Subject Device were unfit and unsafe for use by users as it posed an

 7   unreasonable and extreme risk of injury to persons using said products, and accordingly

 8   Walmart breached its expressed warranties and the implied warranties associated with the

 9   product.

10         294. As a direct and proximate result of the use of the Subject Device as a

11   household product and Walmart’s negligence, JEANNIE RIST, deceased, suffered

12   catastrophic injury, pain and suffering, disability, and death.

13         295. Walmart’s conduct was a substantial factor and proximate cause of the serious

14   personal injuries and death sustained by Plaintiffs' Decedent, JEANNIE RIST. After the

15   initial injury, Decedent JEANNIE RIST survived for an appreciable period of time.

16   Plaintiffs have suffered damage as a direct and proximate result of Defendants’ conduct

17   described herein.

18   J.    Count Ten: Strict Product Liability—Meredith Corporation—Design Defect

19         296. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

20   the Complaint as if fully stated herein.

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 1         297. At all relevant times, Meredith Corporation was a corporation engaged in the

 2   business of branding, marketing, distributing, and selling consumer products, including the

 3   Subject Device.

 4         298. As the distributor and retailer of the Subject Device, Meredith Corporation is

 5   responsible for the design and manufacture of the subject product.

 6         299. The Subject Device was defective at the time it was designed, manufactured,

 7   assembled, distributed, and sold. The Subject Device was defective in that its design

 8   allowed it to become contaminated with the rare and deadly Burkholderia pseudomallei

 9   which causes melioidosis, a condition that is difficult to diagnose and can be fatal.

10         300. The Subject Device purchased and used by Plaintiffs was expected to reach,

11   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

12   substantial change to the condition in which it was distributed and sold by Meredith

13   Corporation.

14         301. At the time the Subject Device left Meredith Corporation’s possession, the

15   Subject Device was defective, and its condition made it unreasonably dangerous to

16   Plaintiffs, including JEANNIE RIST, deceased. The Subject Device was defective in that

17   its design allowed bacteria, including Burkholderia pseudomallei, to collect and multiply

18   in the product. Said bacteria could subsequently, and did, come into contact with

19   consumers like JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

20   means.

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 1         302. Meredith Corporation intended for the Subject Device to be used as a

 2   household product, as it was by Plaintiffs.

 3         303. Meredith Corporation knew or should have known that the Subject Device

 4   would be used as a household product, as it was by Plaintiffs.

 5         304. The Subject Device was used by Plaintiffs in the manner in which it was

 6   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

 7   be used as a household product.

 8         305. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

 9   have discovered the design defects associated with the Subject Device through the exercise

10   of due diligence, nor could they have been expected to perceive the danger posed by the

11   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

12   Plaintiffs and JEANNIE RIST, deceased.

13         306. The Subject Device, as designed, transmitted bacteria, including Burkholderia

14   pseudomallei, directly to consumers during routine household use, including JEANNIE

15   RIST, deceased, through aerosolization, fluid leakage, and other means.

16         307. The foreseeable risks of transmitting bacteria to consumers during household

17   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

18   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

19   producing an alternative design of the Subject Device that is not defective.

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 1            308. The foreseeable risks of harm posed by the Subject Device could have been

 2   reduced or avoided by the adoption of a reasonable alternative design by Meredith

 3   Corporation, and the omission of an alternative design renders the Subject Device not

 4   reasonably safe for its intended use.

 5            309. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

 6   the Subject Device would not be unreasonably dangerous and defective, and that the

 7   product would not cause JEANNIE RIST, deceased, to develop a deadly infection.

 8            310. The Subject Device used by Plaintiffs as a household product did not perform

 9   as safely as an ordinary consumer would have expected it to perform when used in an

10   intended or reasonably foreseeable way.

11            311. The use of the Subject Device as a household product was a substantial factor

12   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

13   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

14   death.

15            312. As a direct and proximate result of the use of the Subject Device as a

16   household product and its defective design, JEANNIE RIST, deceased, suffered

17   catastrophic injury, pain and suffering, disability, and death.

18            313. Meredith Corporation’s conduct was a substantial factor and proximate cause

19   of the serious personal injuries and death sustained by Plaintiffs’ decedent, JEANNIE

20   RIST. After the initial injury, Decedent JEANNIE RIST survived for an appreciable period

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 1   of time. Plaintiffs have suffered damage as a direct and proximate result of Defendants’

 2   conduct described herein.

 3   K.    Count      Eleven:     Strict   Product     Liability—Meredith        Corporation—

 4         Manufacturing Defect

 5         314. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

 6   the Complaint as if fully stated herein.

 7         315. At all times relevant, Meredith Corporation was engaged in the branding,

 8   marketing, distribution, and sale of the Subject Device.

 9         316. As the distributor and retailer of the Subject Device that played a pivotal role

10   in bringing the product to the United States consumer, Meredith Corporation is responsible

11   for the design and manufacture of the subject product.

12         317. The Subject Device was defective in its manufacture in that the product was

13   exposed to or was allowed to collect or develop Burkholderia pseudomallei at the time that

14   the product was manufactured and/or shipped.

15         318. Meredith Corporation did not intend for the Subject Device to be

16   contaminated with deadly bacteria at the time of manufacture and/or assembly.

17         319. The Subject Device was defective in manufacture in that it differed from the

18   intended result or from other ostensibly identical units of the same line of products in that

19   it contained a deadly bacterium not intended or found in other units of the same product.

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 1         320. The Subject Device purchased and used by Plaintiffs was expected to reach,

 2   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

 3   substantial change to the condition in which it was distributed and sold by Meredith

 4   Corporation.

 5         321. At the time the Subject Device left Meredith Corporation’s possession, the

 6   Subject Device was defective, and its condition made it unreasonably dangerous for

 7   Plaintiffs, including JEANNIE RIST, deceased.

 8         322. The Subject Device was defective in that its manufacture and assembly

 9   allowed bacteria, including Burkholderia pseudomallei, to collect and multiply in the

10   device. Said bacteria could subsequently, and did, come into contact with consumers, like

11   JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other means.

12         323. Meredith Corporation intended for the Subject Device to be used as a

13   household product, as it was by Plaintiffs.

14         324. Meredith Corporation knew or should have known that the Subject Device

15   would be used as a household product, as it was by Plaintiffs.

16         325. The Subject Device was used by Plaintiffs in the manner in which it was

17   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

18   be used as a household product.

19         326. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

20   have discovered the manufacturing and assembling defects associated with the Subject

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 1   Device through the exercise of due diligence, nor could they have been expected to

 2   perceive the danger posed by the Subject Device. Thus, the dangerous condition of the

 3   Subject Device was unknowable to Plaintiffs and JEANNIE RIST, deceased.

 4         327. The Subject Device, as manufactured and assembled, transmitted bacteria,

 5   including Burkholderia pseudomallei, directly to consumers during household use,

 6   including JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

 7   means.

 8         328. The foreseeable risks of transmitting bacteria to consumers during household

 9   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

10   Device. The foreseeable risks also far outweigh any cost of manufacturing and assembling

11   an alternative design of the Subject Device that is not defective.

12         329. The Subject Device was manufactured and assembled with bacteria, including

13   Burkholderia pseudomallei, present in and/or on the product.

14         330. Meredith Corporation’s failure to ensure proper sanitation, failure to ensure

15   proper workmanship, failure to ensure adequate testing, and/or failure to ensure adequate

16   labeling for the Subject Device caused the product to be manufactured and assembled in a

17   manner that made the product defective and unreasonably dangerous.

18         331. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

19   the Subject Device would not be unreasonably dangerous and defective, and that the device

20   would not cause JEANNIE RIST, deceased, to develop a deadly bacterial infection.

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 1            332. The use of the Subject Device as a household product was a substantial factor

 2   and the cause in fact of JEANNIE RIST’s injuries, specifically, her contraction of an

 3   infection, her development of melioidosis, her subsequent pain and suffering, and eventual

 4   death.

 5            333. As a direct and proximate result of the use of the Subject Device as a

 6   household product and its defective design and manufacture, JEANNIE RIST, deceased,

 7   suffered catastrophic injury, pain and suffering, disability, and death.

 8            334. Meredith Corporation’s conduct was a substantial factor and proximate cause

 9   of the serious personal injuries and death sustained by Plaintiffs' Decedent, JEANNIE

10   RIST. After the initial injury, Decedent JEANNIE RIST survived for an appreciable period

11   of time. Plaintiffs have suffered damage as a direct and proximate result of Defendants’

12   conduct described herein.

13   L.       Count Twelve: Strict Products Liability—Meredith Corporation—Failure to

14            Warn

15            335. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

16   the Complaint as if fully stated herein.

17            336. At all times relevant, Meredith Corporation was engaged in the branding,

18   promotion, marketing, distribution, and/or sale of the Subject Device.

19            337. As the marketer, distributor, and retailer of the Subject Device that played a

20   pivotal role in bringing the product to the United States consumer, Meredith Corporation

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 1   is responsible for the design, manufacture, and warnings of the subject product.

 2         338. The Subject Device was defective at the time it was designed, manufactured,

 3   assembled, distributed, and sold.

 4         339. The Subject Device was defective in that its design and manufacture allowed

 5   it to become contaminated with deadly bacteria.

 6         340. The Subject Device was defective and unreasonably dangerous in that the

 7   warnings, instructions, labels, and materials failed to adequately warn distributors,

 8   retailers, and/or consumers about the product’s serious risk of causing infection from

 9   aerosolization, fluid leakage, and other means via the product.

10         341. Meredith Corporation failed to timely and adequately warn consumers of the

11   Subject Device’s serious risks, including: (i) that the Subject Device was contaminated

12   with bacteria, specifically, Burkholderia pseudomallei, at the time the product was

13   manufactured, assembled, or imported; (ii) that the Subject Device could harbor and grow

14   bacteria, including Burkholderia pseudomallei; and (iii) that bacteria, including

15   Burkholderia pseudomallei, can reach the consumer through aerosolization, fluid leakage,

16   and other means.

17         342. The Subject Device purchased and used by Plaintiffs was expected to reach,

18   and did reach, Plaintiffs, the intended consumers, and ultimate consumers, without

19   substantial change to the condition in which it was distributed and sold by Meredith

20   Corporation.

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 1         343. At the time the Subject Device left Meredith Corporation’s possession, the

 2   Subject Device was defective, and its condition made it unreasonably dangerous for

 3   Plaintiffs, including JEANNIE RIST, deceased.

 4         344. The Subject Device was defective in that its design and manufacture allowed

 5   bacteria, including Burkholderia pseudomallei, to collect and multiply in the device. Said

 6   bacteria could subsequently, and did, come into contact with consumers, like JEANNIE

 7   RIST, deceased, through aerosolization, fluid leakage, and other means.

 8         345. Meredith Corporation intended for the Subject Device to be used as a

 9   household product, as it was by Plaintiffs.

10         346. Meredith Corporation knew or should have known that the Subject Device

11   would be used as a household product, as it was by Plaintiffs.

12         347. The Subject Device was used by Plaintiffs in the manner in which it was

13   intended to be used, and thus, it was reasonably foreseeable that the Subject Device would

14   be used as a household product.

15         348. At all times relevant, neither Plaintiffs nor JEANNIE RIST, deceased, could

16   have discovered the design defects associated with the Subject Device through the exercise

17   of due diligence, nor could they have been expected to perceive the danger posed by the

18   Subject Device. Thus, the dangerous condition of the Subject Device was unknowable to

19   Plaintiffs and JEANNIE RIST, deceased.

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 1         349. The Subject Device, as designed by Meredith Corporation, transmitted

 2   bacteria, including Burkholderia pseudomallei, directly to consumers during household

 3   use, including JEANNIE RIST, deceased, through aerosolization, fluid leakage, and other

 4   means.

 5         350. The foreseeable risks of transmitting bacteria to consumers during household

 6   use, including JEANNIE RIST, deceased, far outweigh any utility of using the Subject

 7   Device. The foreseeable risks also far outweigh any cost of designing, manufacturing, and

 8   producing an alternative design of the Subject Device that is not defective.

 9         351. The foreseeable risks of harm posed by the Subject Device could have been

10   reduced or avoided by the adoption of a reasonable alternative design by Defendants, and

11   the omission of an alternative design renders the Subject Device not reasonably safe for its

12   intended use.

13         352. Plaintiffs and JEANNIE RIST, deceased, had a reasonable expectation that

14   the Subject Device would not be unreasonably dangerous and defective, that Meredith

15   Corporation provided all proper warnings, instructions, and labels regarding the product,

16   and that the product would not cause JEANNIE RIST, deceased, to contract a bacterial

17   infection.

18         353. If Plaintiffs and/or JEANNIE RIST, deceased, had been made aware of the

19   significant risks of Burkholderia pseudomallei infection associated with them use of the

20   Subject Device, Plaintiffs would not have purchased and used the product in their

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 1   household.

 2         354. As a direct and proximate result of the use of the Subject Device as a

 3   household product and its defective design, manufacture, and Meredith Corporation’s

 4   failure to warn, JEANNIE RIST, deceased, suffered catastrophic injury, pain and suffering,

 5   disability, and death.

 6         355. Meredith Corporation’s conduct was a substantial factor and proximate cause

 7   of the serious personal injuries and death sustained by Plaintiffs’ Decedent, JEANNIE

 8   RIST. After the initial injury, Decedent JEANNIE RIST survived for an appreciable period

 9   of time. Plaintiffs have suffered damage as a direct and proximate result of Defendants’

10   conduct described herein.

11   M.    Count Thirteen: Negligence—Meredith Corporation

12         356. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

13   the Complaint as if fully stated herein.

14         357. Meredith Corporation owed a duty of reasonable care to Plaintiffs, JEANNIE

15   RIST, deceased, and all reasonably foreseeable users of the Subject Device, when it

16   branded, marketed, imported, distributed, and sold the Subject Device.

17         358. This duty of reasonable care required Meredith Corporation to ensure that the

18   Subject Device was safely designed, manufactured, imported, distributed, tested, and sold.

19         359. Meredith Corporation had a duty to ensure that its supplier was in full

20   compliance with industry regulations and standards in the manner it designed,

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 1   manufactured, imported, and distributed the Subject Device, and to ensure that the product

 2   and was not defective or unreasonably dangerous for its intended purpose and other

 3   foreseeable uses.

 4         360. Prior to, on, and after the date that the Subject Device was sold to Plaintiffs,

 5   and at all relevant times, Meredith Corporation warranted, distributed, and sold the Subject

 6   Device for use by consumers, such as Plaintiffs.

 7         361. Meredith Corporation breached its duties, and was negligent and careless in

 8   its marketing, importing, distributing, and sale of the Subject Device, and failed to use due

 9   care to avoid exposing consumers, including JEANNIE RIST, deceased, and Plaintiffs, to

10   dangerous bacteria when the product was used in a reasonably foreseeable manner.

11         362. Meredith Corporation was negligent and careless in and about its selection,

12   supervision, and retention of suppliers of the Subject Device.

13         363. Meredith Corporation owed Plaintiffs and JEANNIE RIST, deceased, a duty

14   of reasonable care to discover these defects and properly, adequately, and timely warn

15   consumers, including Plaintiffs and JEANNIE RIST, deceased, about these defects.

16         364. Meredith Corporation failed to use reasonable care to discover the defects and

17   properly, adequately, and timely warn Plaintiffs and JEANNIE RIST, deceased, about

18   these defects, thereby breaching its duty of care.

19         365. Meredith Corporation failed to adequately warn of the danger of potential

20   bacterial transmission and failed to adequately instruct on the safe use of the Subject

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 1   Device.

 2         366. A reasonable distributor, importer, and retailer under the same or similar

 3   circumstances would have warned of the danger and instructed on the safe use of the

 4   Subject Device.

 5         367. Meredith Corporation was negligent and careless in that its product lacked

 6   warnings and instructions regarding the propensity of the Subject Device to become

 7   contaminated with deadly bacteria, and thereby caused harm or injury to consumers,

 8   including JEANNIE RIST, deceased, and Plaintiffs.

 9         368. Prior to, on, and after the date that the Subject Device was purchased, and at

10   all relevant times, Meredith Corporation performed inadequate inspection, testing, and

11   evaluation of the product where such inspection and evaluation would have revealed the

12   Subject Device’s contamination and potential to cause harm or injury to consumers,

13   including JEANNIE RIST, deceased.

14         369. Meredith Corporation further breached its duty of care by allowing the Subject

15   Device, including the product used by Plaintiffs, to remain contaminated with Burkholderia

16   pseudomallei while still in the possession and control of Meredith Corporation, and then

17   sold to the end-user.

18         370. Meredith Corporation knew or reasonably should have known that the Subject

19   Device was dangerous or was likely to be dangerous when used in a reasonably foreseeable

20   manner.

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 1         371. Meredith Corporation knew or reasonably should have known that users of

 2   the Subject Device would not realize the danger of potential transmission of deadly bacteria

 3   to the consumer.

 4         372. Meredith Corporation owed a duty to Plaintiffs and JEANNIE RIST,

 5   deceased, and all foreseeable users to issue a timely recall of all Better Homes and Gardens

 6   aromatherapy products in use throughout the United States when it became aware that the

 7   Subject Device was contaminated.

 8         373. Meredith Corporation breached its duty by failing to timely recall the Subject

 9   Device, despite its knowledge that the product had been exposed to deadly bacteria and

10   was possibly contaminated.

11         374. A reasonable importer, distributor, and retailer under the same or similar

12   circumstances would have recalled the Subject Device, given the potential risks to

13   consumers.

14         375. Meredith Corporation owed Plaintiffs and JEANNIE RIST, deceased, a duty

15   of reasonable care to ensure the manufacturers and importers of the Subject Device follow

16   good manufacturing, assembling, and distributing processes to prevent the Subject Device

17   from becoming contaminated with deadly bacteria.

18         376. Meredith Corporation breached its duty by failing to ensure the manufacturers

19   and importers of the Subject Device follow good manufacturing, assembling, and

20   distributing processes to prevent the Subject Device from becoming contaminated with

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 1   deadly bacteria.

 2         377. In its role as a distributor and retailer of the Subject Device, Meredith

 3   Corporation had a duty to fully understand the product specifications and designs of the

 4   Subject Device.

 5         378. In its role as a distributor and retailer of the Subject Device, Meredith

 6   Corporation had a duty to exercise due care in selecting a reasonably careful manufacturer

 7   and importer of the subject product.

 8         379. In its role as a distributor and retailer of the Subject Device, Meredith

 9   Corporation had a duty to inspect the foreign manufacturing facilities that manufactured

10   the Subject Device to ensure that the product was safe for United States consumers.

11         380. In its role as a distributor and retailer of the Subject Device, Meredith

12   Corporation had a duty to identify quality control mechanisms in the manufacturing and

13   importing process of the Subject Device to ensure that the product was safe for United

14   States consumers.

15         381. In its role as a distributor and retailer of the Subject Device, Meredith

16   Corporation had a duty to establish contracts and enforcement mechanisms in the contract

17   that governed the design and production, testing, inspection, and quality control of the

18   Subject Device to ensure that the product was safe for United States consumers.

19         382. In its role as a distributor and retailer of the Subject Device, Meredith

20   Corporation had a duty to inspect the Subject Device to ensure that no defects existed that

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 1   would present an unreasonable risk of harm to consumers in the United States.

 2         383. Meredith Corporation breached each of its duties as a distributor and retailer

 3   of the Subject Device in the following ways:

 4               a.    Failing to understand the product specifications and designs of

 5                     the Subject Device.

 6               b.    Failing to exercise due care in selecting a foreign manufacturer

 7                     and importer of the subject product.

 8               c.    Failing to inspect and test the foreign manufacturing facilities

 9                     that would be manufacturing the Subject Device.

10               d.    Failing to identify quality control mechanisms in the

11                     manufacturing and importing process of the Subject Device to

12                     ensure that the product would not become contaminated with

13                     deadly bacteria.

14               e.    Failing to establish contracts and enforcement mechanisms in the

15                     contracts that governed the design and production, testing,

16                     inspection, and quality control of the Subject Device to ensure

17                      that the product would not be unreasonably dangerous for United

18                      States consumers.

19               f.     Failing to inspect the Subject Device to ensure that no defects

20                      existed that would present an unreasonable risk of harm to United

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 1                       States consumers.

 2         384. As a direct and proximate result of the use of the Subject Device as a

 3   household product and Meredith Corporation’s negligence, JEANNIE RIST, deceased,

 4   suffered catastrophic injury, pain and suffering, disability, and death. Meredith

 5   Corporation’s conduct was a substantial factor and proximate cause of the serious personal

 6   injuries and death sustained by Plaintiffs' Decedent, JEANNIE RIST. After the initial

 7   injury, Decedent JEANNIE RIST survived for an appreciable period of time. Plaintiffs

 8   have suffered damage as a direct and proximate result of Defendants’ conduct described

 9   herein.

10   N.    Count Fourteen: Breach of Implied Warranty—Meredith Corporation

11         385. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

12   the Complaint as if fully stated herein.

13         386. At all relevant and material times, Meredith Corporation manufactured,

14   distributed, advertised, promoted, and sold the Subject Device.

15         387. At all relevant times, Meredith Corporation intended its Subject Device be

16   used in the manner that Plaintiffs in fact used them.

17         388. Meredith Corporation impliedly warranted its Subject Device to be of

18   merchantable quality, safe and fit for the use for which Meredith Corporation intended

19   them and Plaintiff in fact used.

20   //

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 1       389. Meredith Corporation breached its implied warranties as follows:

 2             a.    Meredith Corporation failed to provide the warning or instruction

 3                   and/or an adequate warning or instruction which a manufacturer or

 4                   distributor exercising reasonable care would have provided concerning

 5                   that risk, in light of the likelihood that its Subject Device would cause

 6                   harm.

 7             b.    Meredith Corporation manufactured and/or sold the Subject Device and

 8                   said product did not conform to representations made by Meredith

 9                   Corporation when it left Walmart’s control.

10             c.    Meredith Corporation manufactured and/or sold its Subject Device

11                   which was more dangerous than an ordinary consumer would expect

12                   when used in an intended or reasonably foreseeable manner, and the

13                   foreseeable risks associated with the product or formulation exceeded

14                   the benefits associated with that design.

15             d.    These defects existed at the time the product left Meredith

16                   Corporation’s control.

17             e.    Meredith Corporation manufactured and/or sold its Subject Device

18                   when it deviated in a material way from the design specifications,

19                   formulas or performance standards or form otherwise identical products

20                   manufactured to the same design specifications, formulas, or

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 1                       performance standards, and these defects existed at the time the product

 2                       left Walmart’s control.

 3                f.     The Subject Device were unfit and unsafe for use by users as it posed

 4                       an unreasonable and extreme risk of injury to persons using said

 5                       products, and accordingly Meredith Corporation breached its expressed

 6                       warranties and the implied warranties associated with the product.

 7         390. As a direct and proximate result of the use of the Subject Device as a

 8   household product and Meredith Corporation’s negligence, JEANNIE RIST, deceased,

 9   suffered catastrophic injury, pain and suffering, disability, and death.

10         391. Meredith Corporation’s conduct was a substantial factor and proximate cause

11   of the serious personal injuries and death sustained by Plaintiffs’ Decedent, JEANNIE

12   RIST. After the initial injury, Decedent JEANNIE RIST survived for an appreciable period

13   of time. Plaintiffs have suffered damage as a direct and proximate result of Defendants’

14   conduct described herein.

15                                       V.     DAMAGES

16         392. Plaintiffs incorporate and re-allege by reference all preceding paragraphs of

17   the Complaint as if fully stated herein.

18         393. After the initial injury, Decedent JEANNIE RIST survived for an appreciable

19   period of time. Plaintiffs, as surviving spouse and successor-in-interest and children to

20   Decedent JEANNIE RIST, seek all damages otherwise accruing to Decedent in a survival

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 1   action brought pursuant to the California Code of Civil Procedure section 377.34, including

 2   pain, suffering, and disfigurement under subdivision b.

 3         394. Plaintiffs lost their spouse and mother, respectively, due to injuries she

 4   sustained as a result of Defendants’ conduct. By virtue of her preventable and untimely

 5   death, Plaintiffs suffered loss of future financial support, loss of future household services,

 6   and loss of love, companionship, comfort, care, assistance, protection, affection, society,

 7   moral support, expectations of future support, as well as other benefits and assistance that

 8   Decedent would have provided to them and which will be stated according to proof, in

 9   accordance with California Code of Civil Procedure section 377.61.

10         395. As further direct and proximate result of Defendants’ conduct, Plaintiffs

11   incurred economic damages in an amount to be determined according to proof in

12   accordance with California Code of Civil Procedure section 377.61.

13         396. As a direct and proximate result of Defendants’ conduct, Plaintiffs seek to

14   recover all damages to which they are entitled and which will be stated according to proof,

15   pursuant to California Code of Civil Procedure section 425.10.

16                                 VI.    PRAYER FOR RELIEF

17         WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of

18   them, as follows:

19         a.     Judgment for Plaintiffs and against Defendants;

20   //

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 1       b.    Damages to compensate Plaintiffs for their injuries, economic losses and pain

 2             and suffering sustained as a result of the use of Defendants’ subject device;

 3       c.    For the wrongful death claimants, the non-economic damages caused by the

 4             wrongful death of JEANNIE RIST, deceased, in an amount in excess of the

 5             minimum jurisdictional amount of this Court, according to proof, at trial,

 6             including but not limited to damages for Plaintiffs’ loss of Decedent’s love,

 7             companionship, comfort, care, assistance, protection, affection, society, and

 8             moral support;

 9       d.    For the wrongful death claimants, the economic damages caused by the

10             wrongful death of JEANNIE RIST, deceased, being the loss of the financial

11             support that Decedent would have contributed to Plaintiffs, the loss of gifts or

12             benefits that she would have given to her spouse and/or children, funeral and

13             burial expenses and the reasonable value of household services that Decedent

14             would have provided, in an amount according to proof at trial;

15       e.    Under California Code of Civil Procedure section 377.34, as amended by

16             Senate Bill No. 447, for the successors in interests of JEANNIE RIST,

17             deceased, the non-economic damages for JEANNIE RIST’s pain, suffering,

18             and disfigurement.

19       f.    For the successors to the interests of JEANNIE RIST, deceased, the economic

20             damages, including past hospital, medical, and other health care and other

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 1               expenses incurred prior to her death, according to proof at trial;

 2         g.    All damages recoverable under California law;

 3         h.    Pre and post judgment interest at the lawful rate;

 4         i.    For costs of suit incurred herein; and,

 5         j.    Such other and further relief as the Court deems just and proper.

 6   Date: October 10, 2023          Respectfully submitted,

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 1                               DEMAND FOR JURY TRIAL

 2         Plaintiffs hereby demand a trial by jury as provided by Rule 38(a) of the Federal

 3   Rules of Civil Procedure.

 4   Date: October 10, 2023        Respectfully submitted,

 5                                 /s/ Kevin M. Loew_________________
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fghj3`ddfh3
fic0tci0`j2Si2Sj2S0cij2j3Sijcj2Si3tStj2S/jSdfghij0tci0c0t`0chjtj2S0cj2S0`i/3`jcj2S0cijt`i3`jcj2S
fj0S/j0SiVj/3ijSjS/30Si/S0Vij/30S/i3j0S/30S`3Sde3ij/33iS/h30S/30S/30S/Sj0S/30S/30S/3i0Sij/30S/30S
fj0S/j0Sj0SS0S/i0S0S0Vj/iSS33ijS0Vj/i/j3jSS//V/de0Si3j/Sj/jShS330S/30S///iS/30S/30SS0SiSijS0Vj/S0S
fj3j/j/ijS3j/i`j/jVj/i0Sj/i0S0Vj/i/j3jVj/V/Sde3ijS0Vj0S0ShS3/jVj/S0S3iS/jVj/S0Vj/i/ij/jVj/S0S
fj3j/j/ijS3j/hj3j3ij/j3j3`iSjSi/j3jVj/V/Sde3ijSj/cjS/h3jVj/S0Vj/0Sj30S0Vj/S0Sj/i/ij/j0S/j0S
fj3j/j/ijS3j/hj/0cij3j0SjciS3`i0tS/33j/V/Sde3ijV`3S/0chjS//jVj/S0S3j0S3j/S0Vj/j/i3ti32S0ciS
fj3j/jS2tS3jS0Vt`ijSj3ij/j3hSj3i0Sj2`3j/SSVt`dfghi0S3t``33j//3h0t0S0Vj/S0S3j0S3j/S0Vj/jSi3j3t``30S/j/
fj3j/jSijS3j/h0SiSi3j0Sij/i/i/j330S0V33dejSi3j/j3/jShSjS0Vj/S0S3j0S3j/S0Vj/0Si0SijS0Vj/0S
fj3j/jSijS3j/h3j/jSi3j0SijS0S0SiSj/33j/SSSde3ijS0Sj/S0ShSjS0Vj/S0S3j3j/jVj/S0S/ij/ij/jVj/3
fj0S/jSij/jS/h3j3j/i0Sj/ijSjS0SiSj/30S//jSde3ijS0Vj/S0ShSj/30S/30S0SjSjS/30S/30Sij/ij/jVj//
fj0S/jSij/jS/h/j0S/ijSj/j2S/j0S/i3j0S330SS0Sde3ij/30S/30Sh/j30S/30S/jS0Sj/30S/30SSij3ij0S/30SS
ficj3ij0Sjch0tc0cij3j0Sjc0tc0cijSj/0S2S/jSde3ij3`jcj2Sh3icj2S0cj3j/j0cj2S0c0tci3hcj2S2tS
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de3hik4hj1j3deh
de2tc3t3c7u[tTtFtc0tDs[i?de
de3`1S2[3C7[3`1b0c3`3`13`1i7Cde
de3`8[7`7jBjck7[3`7[2SS2S;ibde
de3`?31b/jBjck7[3`7S2SjcijBSdfghi
de3`;j3cj1`0ck7[3`BC2SjcijZ[dfghi
de3tCj7bj7sk7[3t`0cj3`i1F`dfghi
de3`;j0tj7[3`1b0c3b3`j2Si/7[dfghi
de3`?/0]bjBjck7[3`7`2Sjci1tcdfghi
de3`k70[2[1`0ck7[3`7`2Sjci3jBCdfghi
de3`0[6jck7S3`1b0c3b3`j2Sjk7jBSdfghi
deBtu]t3tRu]tTtFtc0tS7tjk7`3tdfghi
dddfh
deprsCdfgh
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dfgij7tbjs[jtV2tCiSk7tci?j2s2u[0t[3u[3bdfg
dfgij0c3`0ck7C2S3SBCi7j0c1bj1[k71b73bk7S2S7bk6dfgi
dfgij0c0c0c311bj?7[i3[j2S2Sjbj?7[/7[7[0b0tC;dfg
dfgij0ck7[2ST0cj31bi1cj3`3`jBSj1bj7S2S0c1J`6dfgi
dfgij0ck7[2TS1bi7[i0bj2SBC0Z[j1bj7S2Sk7[?t6dfgi
dfgij0ck7`2tju[i2Cjk62S0tu[j;cjk7[jB1cj7[;2]Cdfg
dfgij0ck7[2TS1bi7[iSBC3[cj31bj1bj7SBSk7[?3u[dfg
dfgij0ck7[2SSTci7[k71tcjc7[k7t`j7[jBCcj2S?1u[dfg
dfgij0c0c0cj/2Sjk7[k63ju[3`2[3C2[jBCk7S7[0c1C1bdfgi
dfgij0c1b0cj`7[k71bj[?k7`3`7`7j2Sk7[jcjbk7S7j7Cdfg
dfgij7tcjs[0tc3sTc0sc1c2S2c0t[3tC2T`3cj1dfgi
defhjk7Sdfgh
ddei8ef
dddfh
ddegCfghi1gh
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
ej4i2ghij4ej1C31hij2fi4gh;j1Sij3Cgij1Si;gibj1[hjk7hi2C3t[Btj0cj2[fgi
fgj2bi3tk7tjtDtBS0u[k7t[0tCt`Btci<bhi1[h1thi71VsJShj;j0][Vbhj3S`?ijAghj3[gh?j2SijBCgij1[i`gj0T[1[Bhj1Shj7u[3t[tbj3RS2BCfgi
fgj3Sik7C2jA0`j`1`j[j3CBj`3S271[/j1CAhi0Sh3DYhj0S/13S;`hj2jk73Q7hj?2F[?ijSghj3Cghj[2ik61[fgj?40[1Sh[hi30`1k77j[j;71C2fgi
fgj3Sik7CAj20`j`1cjSj3C2C20[0TCA3Ck7j[gij1S3hibB/3S/`hjBCj?0[hj1C13C[fj`ghj?3Si11[fgj`j3S3h7h4ij1jk6j1Si?j1Sfgi
fgj3Sik7C`j7C?j`1JC1j0[3[3S2C/jAi1k7FC1`0VCBj[62j20s`7S1Ii2F[0`j`?jbi1Rj2bBb6k7S37Ct73S7ijS61i1j3S0bjAj;S7Qk7C33j7C0bj3Ou[A77c72Cjt77S1bj4T`2JDu[2[BBCB[Qjc0QBk7cj0t1tS0cjk7b0t7bBk7c3]bi3i[j6i3Cj1fgi
fgj3Sik7C`j7S`j`1V[1j0[7S3S7`jk7Cj1[0t[67Jt127[tc3TS7CA3F]tSh3Sk7t1S`iT[j`0[2C[?BtC[i0[iB7t[j27k771S`17FtFD`127tS121T[jA3S/B1S7VSj11bA3D[ju]`2Q?7C`31[?17C?7Db231Sj[20`j0tj;7FD[?1SA3Sb7iu[j7j0[jk7`j3Cfgi
gh8gh0`ijA7Sj23sk73S[j3tC0`k7cj1[jk7C7C[/3T[7T`A3S?17C?1S?3T[hj2j21S_7Cj63S0`0[3C[A7C[1ij[i70[2j3C[?7FC[?3S`1S171SA3DSA0tj3S?61SA1SAj3CA3Dt`jA1[`3C21S;3DS;13C23C?13j7k7C`iB[2tJk47k71S7FS?iBj3Cj?i3[j[fgi
fgj3Sik7C`j7S?j`1SB/j0[`j2j1cj7Cj1S0[27tTS62[A3C?k7[7k71t`Ahj3S0`7FVbj0tbj`1[3C3`7C[1ij`i70[7iBDSk7C0[1S[3S2jc1S11j7C?j73[[71S71[j11[17i1[7FS1k7C[[7Ccj[A0`11SBCj?0`2i0c3Ck7j1S73S7FS?i7C0[j6ij[k6fgh
fgj3Sik7C`j7C`j`1S7`j0[Bj21C3[k7Cj1S1[27j1S2j1[11SA11S71SjAhj3S0`7FCi7k7C3S3C11T[?3C[i0`i70[2j1[[`jAj2k7FC20`271S12j7ij]J/1SA1SAj3CA3DSi?1[`3C70`S7C7[17C73C?1cj7C23Sj?k7FCk7C/?1S`1[`7i0[k7j0[i0[1Cfgi
fgj3Sik7CAj2k7j2k7jBi[7S3S?k7C1[jk7C7C`A0TS7jT[11S[11S71[33Chj`j?73S6j3C3S3S3C171[?3C[i0[i70[7j3C[?0VC/`1S[3S271S?3FS6A0[j7Tbk71S71[j11[17C/jA1S`3S7k7[1[;23C`1S[771Sk7C13Sj/j[`1JS??1SA1S`7i1S0[j7j4j3k7k6fgi
fgj3S2j3Jj`k7C2j2k7j2i[1[3S1k7C1[jk7C7C`2DDS3S[A3C?A2K?1]2DD[1Sij0`j`7D`?j7j7C2k7C17F^?3C[Ci[Aj1[13Sk7D^B3F[;A3C`1[273S?3D`12DCj7C`k71]71[j1<[23`[jA3C`1[1j`k7DS?21[13C?/7j3S?3Sj2k70tStSBV`23Db2S0`Aj1j1C1[Bb1tbfgi
fgj7`2C0u[jBcjtDt7`j[j2`3cBStbjtCj3C2Tb7c3`1u[2TbBV``B[2Dt3b3[ij3ck7[c3u[jBC3c7`2[BF``c7[Bi1SBj3`u]bj2_SB[3ck7c3b0tb2ZV`BDu[3ci11C7`2J`cj1[c7[2[j7t1ck7bj6jc7c3b1u[2]c2bj0t0tj32`jcjBj?2jBCij7[j7j0[jS7fgh
fgij[j3fhj1Sfi0[fgk6jSehijk7Cdg
fgik7fg[fi0Sfg1S1Cehijk7Cdg
fgi0Sfg[fi/fg0`k6eg7bdg
efijk4dde
dddfh
fghBCj5[hj2ij60[j`hj1Ch/h7hi2i7j7ik7k7j6gi1Sg0Sh;gij1Cgi1?dfh
fgijk67i`hk7Sci2CAk72hj3Sij3`u[ijBhjk72C0b2SAi1[Bj1t`g1`g1`hbgij3[gij`dfh
fgij0[8k61[h7C1Si[j0[;gj3S0[ij2hj0[/k7S1Sh1Sj71`g1Sg1[h[gij3Cik6i1Cij?7ij0[df
fgij1[j3CAh3SjSi[j0[giAj6ij1Shj1j0`j1hk7jk70bg1Sg1Sh[gij3Ci0[i1ij3C?ij7df
fgj1c0t[0t72S3cj1[iB[3DA7u[BS2R:2CJk7`j3SiBS0tS7[j0u[7u[k7Cj4A2[BBC?j1S2RJCu[0tk7`0tT`2J_SBCi1tk7`k7[3C2S:R1bj0t3`bk7u[j7bB`2[2`2`j2`?c0tDt2df
fgj71[7Cj11`130`jbi?20[2C11SA7VRT[B3S[jBi71[13S[Aj3D[3CjAi20[31[7jk71`2Q17C[A71S;23SA7Z67Ci?21S`17C[A23aTD[j?13`?31[j/67C[?3C;2j3CB7DS?7k7df
fgj10`7Cj11[27tS0`i?70[7C13C23C70[71C[jAi10`?3Tt`j?1S1j1[iA1S?7C?j1tS20`3TS12tJk71S17C2ti7C?2tJ0[131SA0t`j;11SA10[jA67C[A3Ct`j11S137S?df
fgjAk71[j3CA3TSib3jk7`3CA0[Ak7FC70[7ju[jBiA0``1TS4j2k7C[j7Cjk7CA11[7jk7j0`3C7Jj3Ck7k71S13C?ij7k73Ck7j0[0c1[7k4j0t1S?10[j2[7C7`3DSi11S10]S?df
fgjAk71[j3CA3TSiAi170[7C13C73C70[71S`j2iAk720`?i2k7C[j7Cjk7C2/0[7jk7j0[3S77j3Ck7k71S13C?ij7k73Ck7j3[271[7i1S[71[[3Cj7[A3D[17i0[70[A71Sdf
fgj1k71[j3CA3T[3j3SjTS?3CA0[2k73C70[73C[j7Ck620``3T[3j2k7C[j3Sj;Ak7[1[7jk7j0`3S77C/`1JC?70[10[3i7C?2k6A1C[?71[7C/j[11SA20[j;27DSA3C`3j3C?3DS?7df
fgj7C[7Cj1<[23tCjBj[?B[[7CA1[13C70[23Tcj3[1SA3D`BV`[j11S1i`k61[0`k7C?j3Sj2k7C[2u[Bc3]c7FbAk7u[Aj3Sc7_Sb/3D]u][3tC0`t21[A7[k71D_AB[]7u[j2_`BJtTc7df
fgj1u[7cj1[c7`2[itS3][u]u[t1u[2[BVbBTb?j0t[k7bk7_S2[j1u[3cit[7bk6ju]cj2bjBS7bju[1cjbA3`[u[1b1`j3a[7`0u[2[bA2[3bj1`?BV`7_Cjtk7D[[7CBCj3CCj73k71Sdf
dfghij7defh
dfghijAdefh
dddfh
dddfh
eghj1ddehi
dddfh
dddfh
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dddfh
dddfh
fgi3gij8S[2[ijk70Shijk4[hj3ghjk7ij7DChij0[ijW?j1[defh
fgj1bgij7VT`Ah3`u[hij2ChjBghj1Sij2Cg[ij2F[k7defh
fgjk7Cgik61S11h1S1`hijAh3C7fj0`gh1S2Cij/def
fgjk7Cgij0`j1h1S0bhijAi1j1S1Cfj2ghk7k7Cij?def
fgi[gh?j1cjtjk7j7SB[1u[3bk7u[7`2J[B`?0tj7V`1u[B2Tbk7`j7S2`j0`1u[7c3_b2Z[2C2`j1S2CB0t7bgj6deg
fgjk7Cgij0`j23CS2j1Sj`/7DS`/7DSA61Sb71[j1CSjB7D[?7Tb21C?j73C[j3S?3FD[23Sb70[13Cj@7C1S[17def
fgjk7Cgijk7j3C`2tj1Sj`Bu[[67tVCA2tFSA7i?6j7C[?71S11Stbj71[3j3SBt67C[71SA3Ct`j7Rj1S`47def
fgjk7Cgijk7j3C`?i1Sk7VCk7C0[jA1[[j21[?icjk7C[3c1S11S[i70u[j0`1jk7Q3C?71[17ik73Sk71ck7def
fgjk7Cgij0`j13T[i7j7FS11jJj:CA1j3SA7i1bj7C[A71S11S[i7jBCj23S113C[71SA3D[1j1SAj?0u[?def
fgjk7Cgijk7j3C`20Sj?j`7C;`37C;`7FS621[Aj0[1j7C[`71S11S`3Ck730[jFSA1FC[11S?7C[20Sj?1[1SS17def
fgjk7C3Sgi2C1[21tCk7c7S3t1tCtSA2[tS`7Dcj1C[jA3D]u][23`Bbj7`;1j?[3t3Zbu]bBV`BDtC0tCu[B13Db2def
fgj1u[3Cgi[;3OBSu[j90[j3`k7[0cjc11c1b2S?j1u[j2T12FJ`u[?1biSB[j2C0ck7FCC21Ci1`ij30b7b0[1def
dddfh
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fgjk7gij0ZJb.Cij0S/g.Chik7[2ij5Sgh3[hij3bjk7[hk7Si1`j2ij1`j7S0cj0Sik7CfiBj7b2`7`AiBjk7hj1t3cefh
fgj7u[gik7T[`Ah3`u[hij7ChijA3Sij`ghj[hijk7Sj2hj0`i3tCBbik7u[3DS2u[3`ij?fik7j0`3S1Sij?j0C6h0[1Sefh
fgj13[gi1C?1FCh?k7Shij[h1i1[h7ghj1hiSj7[jBhjk7i1S230bi70`70[;3C1Sfhi7j0`1[1Cij?i0[h3C?efh
fgj/0[gij1Sj[h7C3[hij[hAi0[h7gijk4j[iCi0`j1cj0Shj7i1j?81[ij73S7j3S1Shij1SjCj0[jDk7C/1C13j3Zjk7C20[3C3S73j/B`7[i0[?j1`k62ju[7`0tegh
fgi7Cgij7j3R[3cjk7C0`7bk7b0tk7u[7b2Z`B`j7u[c0tC2cjk7b3_bj0tCbbj1b3R`3ZSb7Tu[j<[1Jk7b3ZSt1Z`i1Sj?ij1S`1Sj[k7ijB3_bj0[`2cj77FtFD[11Ttb1S`j0`7S?7[77Dt[B0[77Ci1;j3DSt231TS[/7egh
fgi7gh?j23S[2j1Sj`/7DS`/3DSA61[b71[j71[21C?13Sj?7C`2j1SA3Vj73C`2DS13C?7jk620TSA71[FC[A3Ci[j7ij0[1k7C1Sk7ij70`2j3CA3Sj13C`1S23CA7C[11Sj1SVDC7DS17C[70[13Ci2`j3D[21S[/?23CSegh
fgi1gh?j11St`j7C0`Bt10Dt`[3Dt[?7D[j11[23tTS7j3C23C?j10`1jk67S[3FC73C?7jk67DDS/B1[7k470[i?j3ijk60`1S0[j?ij?3C?j10`1i7[20[1[[7C[17k7iA;`S1[?j70[70[k7[i3JSj3b3C?2[k7`2Segh
fgi[ghAj13TSi7C0`[j1j7j7C11j1SA7Ck7CA3S[j`1Sj[1[[7j3C73Cj1_S[3VC7FC?7jk73V1S3J1[7j1S1i?j3Cij?0`1S1Cj?ij?3C?jAk73Cj3FC`3S7FCA3C`?1Sj0aDcjA7j1S11S11[[i3D`j?13C?1c3DS7`egh
fgj0[gh7j3C`Ak6j7C1[?k4[j?jA0[`0DSA7Ck7CA3S[0Rk7j3S73C?j2k73Cj73S[3FS73C?7jk71b1SA71[7C/?3Cj7j0[ij7j20`1Cj7Ci1S11Sj[1S[j3C[20`1[`7C[27C?iB0bj17C/?3C?3C[1i0[7S7C[11TS``733Segh
fgj3C4gij1Sj[23S/j7C3SA1FS1A1VS17C;?7D[j20[23S/A1Sj`1S[7j3S13Cj13S[3DS73C`74j?3S21S?JCB1DS1j1S73C/i3k67C[7k6k7j/j1S11Sj`3C[j3D]2k7C?23[13T`7Cj0[3Sk7C`17C[70]12K[j7C7SA2K[731VTa/73Cegi
fgjBtS`gi7`k7S`7u[j2t`0tSBb3t1`u[tS`7Ccj7Zb2DtCbBSj[?2]cj3TSu[j2tV[[3TS2tTbjt3CtJtV`1t7`u[k7t[tb7Sk7t[223t`3u[7Sk7`u]cj3VSu[j2_]c0tS7abc7[Bti1k7j2SB[2T`BSb2VT`jB`2u]``u]c2b7][tC[egi
fgj2DS1gijE0G487[j/jCj2S0bjBjB10c129S?j1[S5jbjb?j0bh1[ij/2j`j7C0`;1hj1SSjk7Sh1Ci2h?hj.hi3fghiSefg
degij3gi;eh7efg
degijAgjk7eh1Cefg
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
ddij3f3Chjk6hijk7ijk7ik7hijk7Cg2[fhi
fgjk7Cgi0cj7bghij0Q3Shj0`fik7[2hi1hk7`;j0c1[0u[hj2fij2Chit[g?`hj7[hij2Cij7ik7g[g17fg
fgj3u[gijBj7Cghij1[7hi7fij7C[hi[hA0`i20[1DShj?fi/7Chj0[3C/i3h17hjS1hij0`gj0Sij1Cgj1fg
fgj63SgijBj/f1fgijAgijk7C0[i`j0[fgk70[hjk7C61Si?ijk7hjk70[hij3Sgj7h[gj7Cfg
fgi7gij3bjSf[fgik7C4ijShi0`j60S0`j0[jShjk6ijSijk7ik4443j1[3u[[;j`k68j3S62b3[2b1`j0t[7S1FC0tFJS1bi2S0tE;b7S:4]`5S2`BtR3b7c2C2`7Z`itCt[fg
fgi/gij3RC/1tjk7Vb2ZDtjtk7b0tk7u[c7_`0t`j2SB`j7_`0t1bBS`j2J[3u[bu[3tF[BBS72[j2F]bjk7Cjk720`2DtFVSbtV`7SAAi``2u[j117Z`2C1j0[A3S2u[77JtCjBC0`73C`3F[j1[3D[t[j70bA1D[j3DS17Dc2[`23b13S;/71`VD[11[13Sb7Cj71[7Cfg
fgj0RCgij[b30[2jk7]`2I?3S[261SS270[21`13C`j0`13jk7S[13S?7C[j3[b13T`23CA3CA7D[Ai[2FSj7Cj0[13SA0[70`2k7S[21S[j1S23Sj1S?7D[11Sj70`20[230`1i1u[1S?23SBJSj70`3S`i?3C`2tj1S?70`21[71S13S?71DS10[A3C17k7DS1j0[3SAfg
fgjk7bgij13SS?1[j7CA70`1]S62tFtVS11SA3D[2i?23jk7C`?1[A3SSj3CA2t3C??1[11SA70[j0[21Sj7Ci3[20[3C[1S`1[11S0bj0[1S[i1`70[71Cj1k7FS11Tt`1iju[7j2S`67[j1S1k7FSjk70[77k6i2S`3S`3C?70[21SBS70[k7b3C17j[?3CjAk70[fg
fgi7Cgi0[7V3S3CjA1[?3S7Jj3Ck7j3C11SA3C[2i?7`jk7C`?0`27TCj3C1/j3C`A1[11S17C[j0[21Sj7Ci`[20[3C[1[`1[11S71j1[1[[iA?70[3Fi`1[`3C??j3Cj1C7S?3TS?2ij?3C7FSjk70[27ij`?20`20[71S13S?0c1S1k73C[3DS3DS1j0[1SAfg
fgi3Cgi0[1c3S3CjA0[?3S7JC0[jAj20[71[10ti7jcjk7C`A0[7/_i10[[1FC?A1[11SA1u[i[21Sj3Sj8[13S10[2k7FS7C[73S[j3S73Cj1S?70[1Yi`1[`3C?Ak61i?k7DS`71S?1Sj7C`1S`i?3C`A0Sj?73S23S11S?3C`731[?3C17C[3D[3DS1j0`1SAfg
fgi3Cgi0[k7SA0[j7CA7k7C?20TS620VS11SA3C;ik731[j7C`A0[3[Ai10[`33C?A1[11S13ij13S?jk7C0][A6S10[7k73S7C[73C[j3S13Cj1S?J0[0`iA1S`FC?2CS[jk7j?73Sa70`1jk7CA3S`i?3C?2DSjA29[23SA1S?7C`71C[?FC22[_3C`71SAjk7C[2[fg
fgj11S2gi1j20`7jk7C?2j`13tCtSBb7Tb71[23tCj1S[?j1[23S?k71[i`71tFbBFau]bBV`Bu[j2`B1`j0c0[2tJ[u]t3S[BSb7]c2tSj273cjk7tZ`u[1Sib?1`u]c7u[u[j1tb1bBZDb7bjk7b1t1ciBJTb3cicB3t]b2]c2VbBF`B`7Vb1`[7Fb3b1c2Sj0cj/fg
fgj2bj`gj0u[jS3biBc1cju[0u[0cjBC7_Tc2Tb7tSjBVu[j3?6SBCk60SitS1bijb/ij0tbj1j2/i0tjA6h3`i1i0[;iAijk63ij1ij;g0Cik4dhi
egh1[ghij1S0Sghi[gi3C1Cej3dfg
egh1[ghij3S1Cghi[gi3S3ej3bdfg
egh7bghij0t[ghiB`gi7tej0bdfg
dddfh
dddfh
ehi2bg2ij7u[j3Cik7Cddfg
ehi3[g2ij1`Bj1ij7Sgj0Cddghi
ehi1Sgh7CBij0[0Shi3Ci;ddghi
ehi1Sh4hij0[3SijAk7hj1jAjC1[ddghi
ehi1S3c1t3]b2Z`2S2bj1[7S2CtJc6jtj0tC_]t7B7c3cddgh
ehi1S/3VS[2FSb7C`61Sj2JS1[?63Cj73Ck61]S;A7DS130`ddgh
ehi1SBt67S`71S13Stbj3JCj[223Cj7Dj3t]`8A17S13tSddgh
ehi1S?j1_S`71S13S[i7D[j[7`7Cj3bj3Cju[7C1?3DSddgh
ehi1S?k4`23S?70[23C6j3C`j[0c3Cjk7[j[1C2D[A70[Ak4dei0Ceg
ehiTSB0VC`21S?3C`2C[j10`0[;73Cj63C0b3I1T[?71[20Sddgh
ehjk7I0t[btBJac2]c7u[jB`7bBJ1Ccj1S[j2c73DcBtF`Bb3Cddgh
ehibj7[3TChj0bhj0RS7jk7`ibk7[1C?40S3S3Cdej1Ceg
dddfh
ddeghik7eh
ddeghij8eh
dddfh
ddef4eh
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
fgi7gij2tc2Chj[j0t3tChi2hBCij1tbhijk7Shj7CgiAi1[def
fgi2gij17D[[hj1jk6717[h1j0`ij87Chb1bhij7hk41`gi3ijSdef
fgicgij?7C;[hjBj0[1[hj1Chj?7Ch?j`hij?h3C7dd
fgjk6?gijk7C0[hju[j1k7Cij2j7Ci0Cj3SAh1Sk7S3Ck7j3j1Jj;jDCB`Aj]jk7/C4j48841E243;66j7i3Yj?j10S6jAS3Sde
fgj1TSgij1[j_c0tCj1VS1tJcBCB`BBStj2S@[jtFR[7u[j7j3S?`3JCa`7JS1A2tS`jk67j3FT[27ZZC1BD`3F[tc1[u[k73JZb3T[21[;?77Cde
fgj31Sgij1[j`71C`j0[Aj1k7CA3D[A3C[j3SS;j10`230`j7j3TS113TSA11S;73S?7Cj73C0[/11SA0`71[20SA3S?71[j?67C`?3S`7FCSU2de
fgj/1Sgij1[j[73t[j71[j[1[3C4b7C[1j0`2i10[27tSj?j27tVCk7tJC?2tFS?7iBibj[71S1[;7CA60[21S`7Ck7[1S77k7FSA7S7Z`de
fgjBt[gij7C0[73Ci7tS0[1[3C1A7C[1j0`7`j3S13TSi7j3TSk7C0[j?1S[j21SAiBSj2[11S?j[S7C211[11S?7jk7`7k72k7FCA1c7de
fgjBt[gij7C0[73C6j3jAj[1S3C[A70[1j0`3cj3CA3T[3j1Sk7D[31k6?1JC?1k621S?jk42Cj7S[71Sk7;1[1Vj[21S2`j11`?1TS7FSA/2JC/de
fgi7ghAj11Sb3j1C0`0[1[3DSA7C[1j0`/7j3S13S`7j1S1`7S;b77S]`7F[/21SAj0[1j/7FC`7j3S1[0bk7C`71Si;170[A1S`2FC[b67de
fgi70`gi2b0u]c7u[ju[1u[t7b2]tbc2[u[k7`[;j2_bBTtj3tu[k7c1tCtCBt3u[tBTcj1tj3ZSBZZ`j[0u[1S3`BJ`Btj7u[Bck7u[7a`B`7c1[dfghi
fgi20`gi0Cij3[g1CSi3ijAiSi0`hj6j6j7j32j?ij;h1Ck66i0Ci2h6j[i1SgjCdfghi
dehi7j1ik7deg
dehi3t[ik7Cdeg
dehi0u[ijB[deg
dddfh
dddfh
ddeghj0Cehi
dddfh
dddfh
dddfh
dddfh
dddfh
degh0ShCghj1Chjk7ijA1hj1Sj1Sh7Ehj1[hi2C1t[2ti;j7hjB[ibfgi
fgitgijs]`hj0[j0t3tChi1[h2Sh2t[hij7Shj7Cfhk7Cij1Sghj7hi2Si62[hjBiAhA7Shj?hi2b0tb7tCjBC0chj[`j/7Cfgi
fgjk7cgij[A3VShj3Cj1717[h2i1ij0S2hj`1bhij7hk61`fhj4hij3hij1Cjk7hik7i0[;hjk7hi0[1Sh[hij[23S77j[j0[j7hk7i70[fgi
fgj0Sgij31[37hjk7Sj1k7hi;hi/3Sh1S0`hij?h3C7fghj7hij3Cj0[hi1Si?hik7hi0`0Sijk7g3Sj7j1Sj0[j7ij?0Z?j2b16j2fg
fgj3Sgh7Ck7i8ijZCj[9SiSi1[ij6i20[jk7i1Sk7S7Ck7j7j3Jj`k671aT[0]i2<K8j2j2C1`k7O3Yk7j1?j0[62i30[[2b1`1VCcju[tjk7jBS3ci2ck7`2c3E[`k7`0tSj7]bBCj3`j1u[3c7bBk7c3acijSj3Cj;i[j7i0[`3[j0`3tC?Afg
fgj3u[gijk7Ck7BS2Bi1FS1tJcBC``BBStj1b3JCjB[t[7JCj1Sj`120][1B1T`77Ft`7i??j0S[?7C?A73S[`/773D[`Bcj1b2tCj7Ttb3S122u[Sb/63Cj3S7FSS?j0[21S`70b7``73S[2i?7[`itj;73D[?1SA3Sb7Cj0u[j7j0[i[j7i3CA1Sj0`3S`13Sfg
fgiBCgij7Ck7D[;7Cj0[Aj1k7j[A71[13Cj1[?6jk70`73CAjk7j3TSA13TCA11S[7FS?7i[/j1S;?3DSA13TSA1371FC17Cjk7C`7i?7C`21t[`1RA173Cj3C71S[/j1S73t[?0[21St`?1Sj1[13SiB[2tJ0[?1S`1[?7Cicj1Cj?i1j1Sjk7C21Sj0`3C?Btfg
fgi3Sgij7Ck71[tbi?7S0[1[3C1`7C[1i17Si?3S?2tCj7j3Tt[[jtb?1Stb21S?jk7Sibk70[?j1j2tF`0b1[3S[iA3C?jk70[23S?73S23[cj[j1[j2Su[j0`1TSj7C13C??j7k7iA3C?i0u[[j?j7k73S7DSAik7C0[j6i3Cj?iAk71Sj0`3C??fg
fgi1Sgij7Ck71[[ijtcj1k7j[7J1[13Cj0[7`jk70`77Ci1Sk7VCk7C0[j?1S[j11SAiBSj1c1S12j7C0[j3b1c7C73Cjk7C[7i?3C`23Cj`3Cj2[1i[0`?1bj0`1T[j7j[21T[0Rk7iA3C`j0S1[[j?j7k73S3DSAij[k7j0[i1j1Sjk7C21Sj0`3C?Ak6fg
fgi1Sgij7Ck71[`1Cj3jAj[1S3D[A7C[1i1jcjk70`73C6jk7j2FS310VS6A1S[1FS?7Cj42Cj3B70[?0VC6?1U3]1[`3S[iA3C?jk70[23S?1FS2k7823Cj3C21TC`j3S73S67C13C?20T[7iA3C`j0S1[`1JC??1SA1[?7Ci3j6j1Si1j1Si`3C?i`3C?2DSfg
fgi3Cgij7Ck71[B1Cj6j2k7C7j[?79S13Ej0[;7jk74`73[1jk7jB1`62DT`1B1[b33SA7Cj13Cj;77D[B3F[?B3F1TC[`3D[iA3C?jk71[23UB3FS7S[S?1;j2k77WS?j1`24`?7C13S?7_D`2Sj7D[2i`1SBc3tD_7C`23SAj0`1j1j3C1[7cjti7VSB[j1bu]c7u[fg
fgj7FC7Cgjk7ck7`u[tSj2[3u]t7c2]tac2[cj0u]S[j1bu]u]tCj2tbjtS2`3u[7tStFcBScj1tjk7u[2_[B`3ck7b3t7c0tDu[j0c7[cj1c2Tb7SB[BS7b3u[2Sj7k7][tCj1t[2`7c2_bBStk7a[j7`u]cj0t`k7`0cj`B[2[7[u[j7`j7j0[k7Chi?h3ik6fg
fgj3`j?ghijBh4hj1hj1k7Si3i0`hjk6j6j6j22f8j2fgh[dfh
defghij7dfh
defghij1[dfh
dddfh
ddefg8fgh
dhj3Cij0Si3jSgh;hj6hij1Sghj1Cg.ShSgk7[hj3CijAghj`h3[gj7Cfgh
ehik7u_i2S1jthj1[ijk7u_ij3[hjk7Bj1t`7CiA7SjBtCg2Chj1hijcghj0bgk7Ch2t`hij7ChjBij0[gh0[ijk63Cg;2fgh
ehi3S1Si`3C17hj0Sij3S1Sij1hi[?j`k7C3ij1Sj3SAg0[hj0[hi0`ghj0[ij/hS2hk7jBhij7Ch[0[hi3ChijShi[1g3fgh
ehi2j3Cj0`j1[gi7C0[ij1hjk7iAj1hk7i`3Sg1hi?hi0`ghj0[ij?ijk70`h1Sk7Chi1[hAk7hik7hi/0`hjk5V1i[i2j3SB`1k7C0TSfg
ehiAj1C1j`1FtC/j8S;S0S1Sj0`j6k7j0VC3Ci`0c?j2j1C[TD`11Sj3S21J0bj7S1bjA[`7C?[7[0[j0ck72C1_Sj7bB3[3bk7[0cjBC3u[7bj7b1cjk7b1BC7`jk7j3S2[1cju[1tCB[bBDt3jtCk7[bBDt3c7ZTt1VVu[jb7Z`j3`1t1V[j77C?A71`3T[tcfg
ehiAi220`2CA0``2sb7[11j1[iA20`b1V[j73S7CjAiBD`3J[7i`7VtFD[17DT[17D[27t67C7j1[`B_S17Sj?170[17DS[/2DD[17DS[j70[2jk70b21S`j1[jb/3DS`/7DSA61Sb71[j1S[j7Cb21S/3T[F0[[/2i[7D[j70`73C`j73T[17C?7k7D[1fg
ehibi17C`3CA1S23S7C`71S?j7Cj0[7DS170`j11[7jk7Cjk7C`71[7it`7C20`?7FA`?3C[71S7tS7j1S?71[?3Sj?670[?7FC[Bu[t`[3DS;j71[7Cj?3S?2tCjAj2JtVC;Bu[[7Ft[`71[j1[;j7C`71SBt7CBt2C3Sj3C?3CjA3C?0tiBTSj?1[`1[?3Cfg
ehiAik7[20[7C`1[`0[21[0cj1[jk7C210[Btj7C21Sj7Ci[7DCA1Sj3Sj10[1TSk7D[[3C[71S7iAic1S120`j3`1S12j7j3Ck7j3C13`jk71S3Cj?3S?/ik7j3TSk7C0[jA1[[j21SAiu[j0[21S?7j1[7j0u[7i`70[j70[77Ci127j1[73S3DS1fg
ehiAi7FC`3CA3S7FS7C`70`?j7Cj1[3VC17i1[3S?j1`i10`S7C?j0`j3C1k77j7j3S13C?7k7iAj3TS?3FS2iu[?3FSk7C0[j?j10[3bj1S?0`j70`73Ci7j7TSj[j`jA1[[j21S?i7[j3C`71SA0TS7C/1b7i[71[j70[73C1j23T[37k71S3DS1fg
ehi2j1F0[20[7C`1[`1[21S?7j0`j6A0[`3DS3j7C21Sj3Sj;1k7[1[7i`j3C2k77C/[320[11S?1[3k7j3S?70[`3Sj;270[A1FC/?1JC/`3DC`j71[3Cj?3C?20[j7j2D[320T[6A1[`1FS?7Cj63Sj13S?70`37CB1V0[?j0[70[j7G[73[?j13W`17GA7C?70[fg
ehi7C0T[A6S11[7C?2k7C`73S`Ck7S0S`3F[27S;j20[7iBj/3C3S1[7i`j3C7C[23F[?A3S`B4S3[[1Sj?2<SA7Caj63D[bJ]Sb17]Sc17Cb;7j1V21Sj7/`71tSj7jb0t[Bb3t3[u[tT`7D_j1S[j7Db2Tc7u[ck7c3DSBC0u]c2SjBJ]c3cjk7tDt1b2SBb7`BCfhi
ehi3u_S2tJ`u]t3t3c7bBJ`Btjk7tS3t1tc7citCB[j0t`3bk7jc3[jBbju[3tk7b0t0tb7]]cjtj[j7a]c2[Bu[jB`3``7b0u[1u[3b0t`B`j0`3ci27[c1cj0tu[j2[1bjcjcA0c0b23`j1tjk7S;6k7k7[iBk7`0[hi8ik6hi3fgh
ehij1j2ghjChi0Dghj8fhj1Sdef
dei[def
dej1[defi
dddfh
dddfh
efhij/3fjk6ddg
efhik7SAfj0Cddg
efhij?ddfgh
ehi1`k71j62jVS2C0cjBj2C1t0[62j2CCddfhi
ehi17FtS3t`Bc73S123D[?21T`BFc21Scddfg
ehi?3S?j0`7D[3CA11Tt`tbA3SA3S?21Sddfg
ehi`1[?j0`3TS7C21j7k411DS71[11S`7ddfg
ehi`1[?j0`3TS7C21j7j3C0`1SA3C?7VCddfg
ehi?1[?j0`3DS7C12k6A0VS6A1S13C?3Qddfg
ehiA3S?j0`31S3SA7TSb17TT`74[21S?j7Cddfhi
ehi7c1cj0t[BS3u[1ck7ck7`1t[c2]c7tT[ddfhi
egi0`ghij0[0Sddfg
egi0`ghij1S1Sddfg
egi2`ghij0t`ddfg
egi1_ddeg
dddfh
dddfh
dddfh
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dddfh
dddfh
fgik4ghj1Shij0b0`;ghi11Si7Cgi:ChjAgj7[30Shijk7Shj7h7[h0cdfh
fgi2Cgi3sJShj?j0T]TcghiBk7ik7gij`hj1[gk62ja2`hij7hjk7Sijk7Cijk43Sdfh
fgjk7CgijSA1TShj`j1S6C[h0Sgk7gh3jk61[h1gi1jk7C7Shik7h0S1Sijk7Cij0[7dfh
fgj1[gij31[37hj7[j2j[hj1Sgk7Cgij3Sj11[hAgi1jk7j7Chi1Sh`0[0Si9[i3j?3Sdfh
fgj3Sgh7Ck72C3`i/`k7u]tLS2[.JSB[0c7[B7b0tj1[c7`7ZTbBjt/j2`2bjt72S3bj7cBF]b2S7bjk7b1tCk7j7SB[3ck7b0tS2b2R[tDC72j0ab1u[727b7BSdfh
fgj7tCgij7Ck7VS/7i?Aj2j[7S`A7[`7j1[21T[?17j1[21[31SBJC[2j3S[2j0[7T[13Ck7C?3[c7DCAj71[3Cj7C0`/3FC[?7FC?61S`21Sj3DSj`7DC?17DS7D[dfh
fgj7C`gij1[j?7Dt[j1C`j`0[3S[13C?7j0`71CS?13j1S70`61SA3C[7j1C[2j0[7C[Btj7CA3C?3Dt[j`3S1jk7j3Tt[SjBu[[73t[[71Sj3[j0[7Ft[1b7k71[dfh
fgj7k7CgijAj71[[1itbj`0[3S3b3C?7jk7F[S1c1bjk7C?1[[71[13C`j0u[2j0[7C[?i7CA3C?3FCi[1[1jk7j3VCk7j3Ck7k73Cj[71Sj0cj1[7FCj1A7C`7Cdfi
fgj7j[gij7Ck70[`i1S7C3S3C21S[11S?j0]J/3DS7`j7C?0]S70[10tCj?13Sj11[17i1[7C[70[`k4j`1[1jk7j7FS1Aj2j7C?1j3C?7i1`jA0[`0JD[?1S1dfh
fgj7C1gij1[j?7DS6j3j2j`0[3S[13C?7iBF[71SSAj7C?k7[1SA3C;i13C`j3CA3D[3j7CA3C?3D[6j2k70[j1S0`7C;`37C<[73S111S?j0S?j21[A3J1[A1SAdfh
fgj3S?7CgiAj70[2FCk7j7C2j[3S[bFC?78j3S`1]a/7j1[7j2j?7C`2cj0`t7;j]JC`2u[j1T[21S13tj0[11[j7tBjtSBb3t3]c7u[BJ[BCj[?j7Zb2b7t[cBVbAdfi
fgj0tk7gi1tk7`u[B[jtk7c2b2`BT``u]c7Sj3C;0b12bj7`BS3C7`u]b7tSk7TSBj1[c2[2[j3[c2[c2[2Sj0cjRS0I0Sj2S1bjcjb?1b0S20`j1ciA/0bk71jSi/dfi
dgi/jSddg
dgi?k7ddg
dgi2u[ddg
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
ddefgj1Sfgi
ehjk4gi3fijk7fij0[hij?i1SfghiBCgj1[fhij0b3Sf2Cfgi
fgj1t[gi3`jthij2Sfijbfij0`hijAi7Sfghi7Cg0C1fg11Cgij1Ch[fgi
fgj3cAgijBj6hik63Sfij1fghik7jk6i1Cfg?7Cg1Cfgj[gh0[h2fgi
fgj6jSgik7[k6hi0[2fij0[fghi1Sj1i3Cfg[3Chj8j2k7Cjk6hj0CgSj1j7j3Ck7Q0S/1j1ij7C1Jjk7c0ci0[bjcfg
fgi1Sgik7Ak6jbij2k7c77j2C31i;[jbk6?2[1`jT[i12jBC7bi7`i3b2D`72C3`5VFS7`6_Sj6_Z[1b/?b3cit1u[i3ck7b2]b2SbBF`0u[B2S7c0ti2b1cjti1ZC2A2`b0][BBSi2A3tCjB2[t[?`1T[1B1V[17F`BtC`BSj0[?2u[j1[71SicBDS`fg
fgi1Cgik72C;73Si?21[7t0S`t`j7t`77Ft/13D[tRi3``77DS[jk73Cj0[?A1Tu_[173u]`73SB?jk7Z7C[11`A3Cjk7C?7Cj0[A71[BF`A3[c7CSA7T[/7F0`i[3S[/3Sj0[?73S[3C[7D[1i11[2i1`23S70`13DCA/3TS11SA3C[2i70`2i1[10`i`7Ft[fg
fgi3Cgik73[;10`i[7D[71[=7DSi21[u_S`3DTS7DSAi21S[171Cj1S[i[/11S?3Tt`?0[10`1i1[1[13S?3C[i13C2i?3FC23C?3C[70`Bt70[;37tSj0[7C`Bti/B3C;10[A0[A3Cj1[3S[i3CA70`1]SjtbBt10[71[17C`i[1S[i3D[3Sj0`3VC8fg
fgi7gij1SB67C7iA0`A3SA2B[?i3C117S[3`3S7DS1i11S1b3`ik7[iu[3C?7k76j1S3T[3S[i3C7C[21S13Ci[A0`jk7j7C73C?3C[70`;j70[`j?ij10[27ij0]S[j10[A0`?3Cj1[3S[i3C170`1]Sj[j?j10[71[13S[i`1S[i3D[1Sj0`1VCfg
fgi6gij1S7Y7C7Cj7C27C`7FCj?i3C1?j3C3b2j[?7Cj0`71[[3bi12i1c3C?7k77j1S3S[1S[i3C7C2b1S13Ci[Ak7i?j1k73C?3C[70[?j70[`j?k4i[3C`Ak4jk7DS[1FC17C27C[jk7C73CiA0[?3S7JC/`1JC/`3C?7C[7bi3S73Ci13S7i20[`1Cfhi
fgi/gij1S1b3C7iA0`A1SA2k67i0[3FC111C`?0[?3Cj0`73C[;Bi`2i/23C?7k77C??0`20`1i0[1[6j1S13Ci[20`jk7C/`1S[70[11S27C??3D[620Sj0[3C`20Sj1S?20S[FC`3D[1i20[1i0[71S7C?21D[12DV[11SA3C[ijA3C[i3GA3Cj0`71b?fg
fgi?j[gjk7j7C`3Cj0`3D]71[B3DSi11Sb73C/73C?70[i`73F^;1i`B3j31S`B4S13[[?0`7C[Ai1[1[2j1[13Ii]7C[icA7C[11S23S?3StSA3CtSBbi2]`BDtCj1tbBb3`u[A27`u[jk7FSu[i2FDc0`A1t0tCB`3t]c2Tb2tCjk7c1bi3[2bi1tjB[fg
fgi[k7Cgj7`j?3ti0tC2J[u[tDci3tC2`2[2b1t1b2Sj1b2V``B`iBJCj3u[7][Bbk7b7`2`7b3biB[B[Bu]c2[Ai2CB[i3`k7b3bBVbu[c2[2SBVb3`k7[i3C3j1bi1SS3S1Sj0`hj2h3Jij[jAj3C0[j;3ij3j?eg
fgi3j3fhik4h[fgij?ghj0S1Sefhi3Cghij1j;eg
efhij0[fgij?ghj1S1Cefhi7Cghij7tSeg
efhij0`fgi0tghj1t[efhi1u[ghij0ceg
efhij7cfgij4dd
dddfh
egi?h1g?ibhj0ShjIhij1hi0[h5SgijQ1Sgi2fhi1`7Cdg
egj0ch3Shij2Sj37Ch1`hj7Chi3[hi3Ch2gij1[7gik7fhi0`3dg
egi`ij/j0[i1Cij`j3CSh;7hj0[hik7Ch;hjk61Sgij1gi0Sfhij1Sdg
egi`ij?j1Si3Cij[j3Ch0[7Chj[hij[hAij3iA1Sg4i3Cijk4hjk7ghij0Sj6j7j3Cj]S613j3Cdh
ehi7bB3`12jt2b12t[B7c1bjtSk7u[2[2JC3c72S3bitC2[1u[3bk7u[7`2V[B`k7[bBCk7c7BS7bj2J`1u[bBC7u[B7V`0_cj3ck7c7bBk7c3_bjk7c3_[1`u[t[?b0][1B1T[77T`BtC?BSdh
ehi?170[2tDDS`2C?3C?7C;23D[j3C13Cb[j[7T[13Cj[A3D[?23D[?7DS?2TSAj1[2DSj11[?61[jb7DC?2DS?7C`7S[13Cj[131[?3S?3S`7j1S23Tj7S`2k70`13TCA13T[21SA3C[2dh
ehi?670`20``/20[70[71[2t70`j3C?1S`j0[7C[Btj20[Bt11Tt[[7Ft[?7D[j3C`7j0[71[tbj20`Bu[`7FC11SA3C[2j1F[?j7k73S73C?j2k73Sj7CA7k7k7Fj1t[t`?3SA3C[11Sdh
ehi2S70`20`BC20[70[7D[?j20`j3C`1[`j0[7C[;i10[?j1j7j7CA1j3SA7Cj13S?j3C?7FCi`3VCj`7FC11SA3C[1jk712j1S73S7FC?j2k7FSj3CA70`0][j[j?j2k71[13C`1dh
ehi3b7C`2k71c1S11S11[A7C0`3Sj13S7FCj3CA3DSi`3DSj[j?k5[7FCj`7D[j3C?7j0[71[[i2k72j3SA10[71[10tj0`17jTS73S7FS?j2k7FSj7CA7k7j][12jJC4`1SA3C`3bdh
ehi;27C`20`SA70[70`7D[10TS2j0[7k73Sj3CA3D[3j20`A0VS6A1FC12k621[Aj0[21Sj11SA7C;j?3D[621[`3C?7C[6i3C[A1DS71[73C?j7C?2jk7C?7k7C?21T`12DT[71[A3S[j3dh
ehi?17Fc21S[17/[7/`B]]7VT`23j`3C;2i]JC`2u[jB7[t[Bc3t3[u[tS`7C_j3C`2Cj_2F[2cj3[?3t7[c7Vb7F`BFtSjtb2c1cBS`12]cj3T[tj0bA7`1][7c0tSBb3tac2Tb7tD[di
ehiB`1`?3ck7b1`u[20bA3[2`1t[jt1u[2`j1]c2[2[j1b`3bk7[0u[3`[3`7[c1[jc688j1Sj10cjk7cj2Sj1k7VCCi1Jcj3DC7S1Cj1`k4ijAij7Iij;j4ij6j2h3C.2dh
de`gi1S1Sf0[ghij1S1Sdh
de`gi1[3Cf1[ghij1t`dh
dfghijk7`gi3tfj7bfcdh
dddfh
efg2ddfgh
dddfh
dddfh
dddfh
dddfh
dddfh
ddfCk62gij7C6gj0Segi
fgi/fh0[h7hij?j3Cijk7hBChi2hi`gh2jBZCi1`ghj2[j1`hjBCh3`gk7j<u[gi1JS7t`hij7Segi
fgj0``gh?hij2Cijk7Chi7Sj1hBh7Chi7hi`gh7k73`ij7Cgh3DS1C?hj7Cijk63Shij3i/7hk7hi[;0`0bhij7h0Seh
fgj1S1gh`j3C1hAh3Sj/ij0[2hi1Sijk7Chj1fik7i?h1[gh1Sj3C?hj7Cij0[7hijk7i?hj1Chj7i`jbhij?h2eh
fgj3S1gijk7[jA1Sh[h7j1Sij7C?hi7h7Chj?h3ij0Cgj3Sj3Sjk4j0Ji/j6ik4243j7jc;k7c72j7i1ZC7C1[7c77i3S0bk6>u[/2c3C7[1b3u[7Sj0b0tSj?jB0cjBS3`k7ck7`BJStCeh
fgj1`?gij0VS1tB`B[1c0]`k7`0tSk7b3cj1t7BCb1u[j3tk7`0t1[7b7ZTu[B]`1t3]bj3`7Bj1u[j1u[7c7sJTtJ[1b0a`j1VS1A7Z`2C1j3FS7GjA1Z`3JSj12C[`121[7tjk77DS[tTSBk71b3D[?A3C12j1S`1Sj3Sj`/21S`?21S`73Tb13Seh
fgj0u[gijk77C1[70[?73Sb11C`13Sj?3C`j7CA20[/6j3C`13S[A7DS?7I?71S21S23[`j3S[?jA7j1S?/3D[3S20`1S;7DCAj71S[7D[B3S/j70[7jk7CA7DCAj11[;7JDS11SAj71[^7FC7k7k7k7DS113C[7a[j[3C?jk7j3Tt[[12tFC?2tFC`7eh
fgicghS2jA1S/73C?13St`?3Sj?7k7Ck7C?70[13j7k73tTS/3CS`7jS`7k73C73S?j3S`/j/2j3Ck7tT[3S70`1Stb11[j`jA0[?3SA6j3C21Sj7C?7Ft[k7CA2tC2S11S1j7j3Z`1k7k7k7k7DSj1b3C[2C1[3S?j0`j21j7j3Ck7k73Cj[23Seh
fgj0[`gij7t[1[7jBT[j11TSj`3Sj?7j`jA1SA3CBCj`1TSj`j7C2?7j2`7k73C7FS?j3SBSj3Zj3Ck7j1[3S70`1[[jA1[j`jA0`?1[2/j3C71Sj7C?7FCjk7CA1j1TS11S1j2j3Cj[1S7k7k7DSjA13C[iAk71Sj3Sk7FCk7C0[jA1[[j13S`eh
fgj3SAgij6j`1[70[?AjFC?Aj20`j71S3Ck7C?70[1cj2k77C2?0T[171S7DS?1S`1[`7j0`k7Sk7DSj`0JjT[1S70`1[`0JCAj2jJC17k7k7?j3S71Sj7C?7FS7jA1[`1J1S11S1j7C/`1FC7k7k7k7D[313C`7k7j20`7i`j`7k6A0VS6A1[`3FC`7eh
fgj3C7gij/jA1[71S?20S[73S/`3Sj?7C1j7C?70[;7j7C?20T[63DS?Jk71U?1S`1S`7j0`/7j71Sjb3JS?A0`4S2k7D[121[jA3FS17k7jbj0`3C?j1[71[B3C0`7D`/?28]70[j23D`?1k74?1S7Cb117O`JS[jA3CAj0`1b0b?2VDb`2D`Bb7C`7[`eh
fgj1S13Cgj1Sk7SA]_ABTtC[71tD`BSk7/`7j1_71[231SjbBTtCtSB7R`B1_c7ac3S[BF`jBFDSk7t[jtCB`B[7]c2bB[tCBtC0tCA11b?j?i`?7bj3ac2[tCjBtFu[BZSb2F`j7b0t3b0bBTu[u[B[2_SB1u[j3u[7cjBt[jB[3bk7`0t[7`2]c3S[eh
fgjk7b0[gj3bk7u[b3Sb11b3bBSBC7_Sj20u[j0`BF`u[tib?1bjc0C3TSS0`?1S80ch40cjk5Fi`jBi3ChbjA/jk7j1S1TCj;i3Cgi8k4hij0Sdg
deghij7i/dei
deghij7j3bdei
deghijtC1[dei
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
dddfh
dd3hijCgh3hi3Ch7gij2Cj1bhjBIfgh
fgijC3Chik7[2Jghk5[ij1bgh1c1`[ghj1`ijk7Sghj7Sgh7Shij1bhi1SghBChj7[h2Sgi77Cj1[h3Sbfgh
fgj7tZV[hi0[`TcghjbhAgh73I7[ghj0`h?ghjk7ghj?1Chjk73Cfij7Ch0SAh0`gi3Cj0S1h1S3C/i3fg
fgj61[11hik7j?hjk6hijk7h7Chij6h?0[ghij?h?ghj0`ghk7C;hi?fh1[hk71[h3Sgi1i`3ChAk63Si`
fgj21[41hik7j`hj0[hij1[h[hij7Cij3S7Chi4hij17j3j8k7j;i0Ck6iC4ij17jSh8j1jSSk7j?2c128j0`0tSj/?jBjVCS`2S;tSAj7C`3JC1tC2SJ1j2b1BjBCj3S2`2Vb7Tu[j0u[7u[jtFRS3cicj2b2b7b7cfg
fgi7C0]bk7`it3t2bB0t3`c3u[j3b3a[j3tCB[3c1[7b7ZDu[B2Ttj0tDtJc2F]tR]c0_Sj1t3_[j7RS1`1ZS?3JFtFZC][j7C`BBS7RS?bBcj2Z`1VTac0][70[2C?j1S`1Sj7Zb3FTtZSA3FtJC?j3SAB][73[/27u[j20bA3D[j3S`A7C`371Cj13S1i`3S[/3Cj7bj?73S?71[fg
fgi7C0b21C`j3D[7C2k73S`2T[1i[13_Cj`7DC?17C[A71]J3SB7C[j1S?3S7CA3]7Sb7FC[j70`24j3C`/3TS?71S`2k61]S;j3C?7C[/3SS27Cj1[B71[A3DS[70[7C;j3CA3Sj1[270`Ak71[23S3C;j1S17C`11[Bu[`i`7C[Btj0`63C`7DD[;j7k7C[jk70[17tSj0tk70D`71t`fg
fgi7C0[73t[j13C?0`1S;21S13Cj2k73Sj1[7Ft]S/7CS?7k71S?3C[j0S`3S7C13S3C?7D[3j1k73Cj1S73tVC870F`20tb2i3C?70[?1Tt`Ai?3Tt[?3C3`7C[3SSj7C21Sj1S76tDS1SA3S`k73i?3C[27CA1j3Sj0`7C[?i0`0u[7F[[2[j1S7C[jk70[17hc1S7R1S[fg
fgi7C0[77ij3b1[3S7jt1S13Cj2k7FSj1S7FCk7j0[3c1S0t1S13Cj0aS2k7C13S7C?3Cu[j3C7FCj3S77j3Cj?1VS`3CjBSj3C?70[`1TSjAi?1TCj?3C??7C[1]Cj7C23Sj1S77j1S1SA3S`j]Sj1S13C`A1[[j7i20[27ij`73C1<VjBCj?0[1i?3C[?i1C3S?63S?7jSfhi
fgi7C0[73Ci23C?0`1S?21S13Cj2k7DSj1[7FCk7j1[171S7DS?3C[j1[?3S7C13S3C?3C7[j2k7FSj3S77C4`1DS?23S2jC2Sj21S?3FS77C/Ai?1TS370[?21[1ju[j1[3C?jk7k77jTS1SA3S`jBCj1S13C`A1[`1DSjk70[17C/j3S[1k7Sb1C`j7CA3Cj3S13D[7j1S1S?23S?7S;fg
fgi7C0[73S1j7C[7C2k73C`70[1jk7C?2iA1[`1JC?171S?1S?70[1j0`78`1[3C`0[70[S1j3S73Cj1[73S/A3DS`23S7C<C?j3SA70[A1S`77Cj1S17S;?3FSa7C[CBi20[2i?3C`17j?3D`2j3Sjk7F^A3S`7Lb?2i79[23`[j3S`t1[2k71Sj21S2iBFC`7u[j7S11bBt7`tSfg
fgi7C0[71tCjA2`A0`1S`t70[2;j23C`ib2]tStSA7J`A1]c71`2[jAt7[2Sc7`2]b2TC[j3S[u[j0bBTtCtDc7tZ`3t7DCj7tZ`u[tc7u]u[j1tS7c7`u]t]c3`0[i2b3u[j7tk7b7`1S7]]cj6i3``c7`2t1u[tiB2Tc3bj0t7TS3k6k7ci2`3ci[4487Sj1Jbj;12iBfg
fgitS2]c1ciB27c2bBT`?BVb7Cj3b3Ri2VCBS3`312FJY3][FjD[j3SSj0E3hj5`i7Sij1]C7S0bi;8iAjbi73ij?;0[ij7gi3hij7hj?h3dg
deghij1Sgjk6hij7hj?h6dg
deghij1SgjBShij?h?[ij0cdg
deghij2bgj2hij1u[ijk7h0Cdg
dddfh
dddfh
fgh2[j3b/ib1[k7[hj7Cij0chi1bhk7bgj3Chj7ghij0bdefh
fgh[?jb1`i10[1DShj?ij10`ij1iSAh0S[gj1hjk7ij3gh1gh/deg
fgh[j1[jSi[j0[gi11Sij/j1S1h1Sfh/gh[gijk6deg
fgijk7CjAj3Cj0[j0[hij0Cj1[7ij3Sj20[h7j6ijSj/j1Ch7i3j[j7b31C/j1i1j/?jA[j0`jAj;STC2j7CtCdehi
fgjk7b3tC1[iB`3Tb7u[B`2Zu_b7[2Aj7c7BS2b2bjtFR[7cj3t7JDtTV[22`AA3[tc0[u[k7S??j73tJC`72Ck77Ft`3D[j77C[A2sTT[123Cdeg
fgj1SA1[j2Cj0[A3SA0[70`2G23SA71SjA1[A73S`j3S23CS2j1S11[A0S27C[11[13S?71Sj73CSj?3S7C`/3Sk73C`71S1j3C[?3S`1[3S`?73Cdeg
fgj3C21[j2Cj0Sb3S10[1k7DS3S?7CD`j7C?3CF`7j0`3C`Btj1S?0[A1t`A3DS3S[21S?7Cj?7Sj1S7k7C?Btjk7[21S[3Ck7j3C7FS7CAt1j3Cdeg
fgj7C71[j2Cia[10[3C[1[?0[71[7Jj1[70[771Sj20[27ik71S3T[7j1[17C23C`71[?j1S2[j70`1[27i0[[71S[3Ck7j3C7FS7k7j3Cj[deg
fgj7C71[j7Cj8[A3S10[2k7DS3C?7DS?j7C?3DS`7j0`3C[?0Sj?7C17CA0SB[7C23C`70ti?jbj70`1[27C/j[13S?20[jA0VS73S7C10VS61deg
fgj3S21[j3SjTSA3S10[7k71S3C?7FS?C1[70[`21Tj20[23S?j70`3D[3S?Aj3S13C`71Si730[j?4S3D`2DC0`A6SA2C`j2DD[73S7C2DT[/18[dehi
fgj1[13bj0b1SBB]b2[t3T[BSu]c2Tt`j2Z`u]t`BC0u_bBTtj3u[A17b1t0t`7FCu_bBSt[jBVtj1bBS2_`B`j7_]cB[tbj7ck7c3c3b0t0tCB7Cdehi
fgick4iju[k7FChAj3hS/j1Ci46k4jk4ij`ij3Si3C3k7C7h60bg3j2defgh
dh3C1Chk7C3Cddhi
dh3[7hj0b3Cddhi
dh0tChj0t
dddfh
ddfgi1S
ddfgi7S
ddfgi2S
ddfgi<C
ddfgjk71
ddfgj0]S
ddfgj0VC
ddfgj33Cghj1
ddfgj67ghi;
degj7eghij33Cghj1S
degj2egbhi1DSghiS
degjBegbhi33Cghjk7
degj1ehij3`hi1TSghi/
degj1ehijBChi3FCghiA
degj?ehi1chij77Cghi?
degj?ehi2Shij11ghik7
degj[ghj[fhij0tg;?ghik7
dehj?ij1hi1Shjk6fhijBbg3FCghi3C
efhij0tSegij7ij0[hi7hiAgij;gi1tCg1TSghi0[
efhijB[u[egij?ij7hi0[hjk7gij`gi3`gj0T[ghij[
efhi3cj0[egi0[ij7hi1Shj0[hij0bi`gi1[gjk61ghij7
efhjk7bi7egi0`ij3Chi[hjk7g7Cj2gij3Sgj1?ghij7j?
efhj3[ik7Cegjk7Cij1hi7hi1g1j1`gijk7Sg1Vghij0[k7
efhj7ij1Segi[ij1[hi[hj0`g?j7Sgh1g0VCghij?k7C
efhj1ij1Segjk7h?hi?hjk7g7C0bghj3Chij1Jghij0`0[
efhj/ij7Cegj0[ijk7hi1hi[g`k7Sghj0`hij3bghij0[7C
efhj/ij1egi7h1hi`hjk7g7jAghi0[ik7ijk7[hCgik71[
efhj?ij`egi2h1hjk7Chj3Chij0[3[ghij[jk7_`7cj3`jBu[j3gij[A
efhj/i0begi7h7hi`hjk7g70bghij0[j7C1Zk7C7[0b0bj7gik72
efhj1i3[egi1h7hjk7Chj7Chij0[2cghij1Sk7j0`j13[0`j2j2gi0t
efhj7jk7begi1Sh`hj1Shj3Shijk77S7ghij3jAj0[j3JC3Sj3C7CgiBC
efhj3S7b?egi3Ch[hj7hiAj3Chj0][k7ghij3C1jk7iBS1Sj0[3Sjk7Chijcgj7`;
fgj2ghik6h1j1Shj1tj[ij1Sg2Sj[/iQhj3[j2C0bj7SijAhi7h1Shj2hCj1j1`hjk7bj2ghij1C`j0[ibj[i[7Ci?hi0tgjB0bhik6
fgj1sgh3[ij1bj1Shij1Sij7SgS[j7SiBhjBck7FCBc0tSik7hi3Sh`hj3h7tJju_chj7bj3Sj7t`gij1D[j1[i`0`i?3Si3Chi0`g0[j[hi3C
fgjk7C3g0[ij1ij/7Cgj3Cij1Shijk7i1[i3Sh3CA3C?13[;7gi?h7Chj[hk4sS?1hju[j1Sju]I`gij62jk7Sj0cj[i[7ij7hijBCg`j6hi1]
fgjk7C3g1Sij1ij?7Cgj3Cij1Shijk7i0[i3Sh3j[A1[S7Ck7gi[h2hj1[hj1Sj70[h1`i[j`j1Sgij[[j3Oj0tk7i70`0Cj1Shi3Jg3SitDb2Vac7bBCb
fgjk7C/7`b0cjBCb7Tu[2[1tCi7b1B1?1u[hj1SijtS2`BSBit0tSj0[c3[27`2Cij17C1j7C0[ik7Tbu[ij1ShAhj3Chj7Cj10`h3[jk7j7Cghj1@12S[j7Y0[jS`1S3Sj0Shi77Chij1`i[7D[23[?7C?1C
fgjk7C?3[[3FS?17C?70[A71[i0`3][21S[hj3Cik73S[A7C/j0[2k7i1[21[21S6ijk71[3Sk7jBCik71`2ij0[h7j6j3tj?chj[j1S3`h`i1j7ghi_t`j[j@b1Sjtj[1`jk7C1jk7tCjA0Shij1[i[3T[23SA7C13
fgjk7tS3Zk7tFC`11S?7tFC1ij`3C`71S;hj7Ci1[73C[21Cj7k7C?i7C`3C`3C[ij3CA0`j[j2Ci1S13Sij/j0`i`j[j`3C1[[j1Sjk7jk7CB[ijk7Cjk7jk7ghj1ZCi;jV`1S73C1[3/jk7jbj2C7j3C1Chij3Sj1[3T[23SA7C77
fgjk7C/j`0[17j0[71S?jA0`i0`7C?70chi?ij?1S3b1[[j1S3S?i3C`3C`1TSij1k7C1j[j0`ik70[2ij1Sj3Cj1S0[ja3S7[1i[j0[j3S3bh[i1i[ghj[[i7j]`k7J[;j`3FCj2j?j`j/j`j1hij0`j1Ak77C`21[Aj_C
fgjk7Cj0b0[jAjFC?71Sk7C1ij`3C?7ju[hj7ij7C?23C2?jk7C21Si13S13S3Iij3C1[3C1i6ij?3C`ij1jk7Cj3C3S0`2C3`3Cj3Cj7Cj?k7/ij0`i2i3ghj?/i0[12C0ck7j7C`1j1[0[0`j1j?j1[hij7Ck620[13S?7D[k7S3
fgjk7C1S][7k6B0S[71SA1FS2ij`3C?71C`hj1ij7C?A3C7[jk7C11Si11S13S1`ij1k611S10Sj[ik70[2ij7i`j0`k7j7i2[3i?j1`j3S37ijk7Ci[i/hjk7Cik6i70[i0u[Bij[j`70[j2j?k7j1S1Si`hij7S11[?3VcBV`2S3C7S
fgjk7C3DC`7][c13Ta7Oc?2Cb2i@FC?7DC[hj1ij3[c22`3Si`70`j0[S7Jb2j1k7Cj2tS?17t`AB0bj1c2]bij[j0`j1[0[j[j1u[0Sj3Cj2Cj10S[ij2Ci`i1Cj8ij1`ij?i[3Cik43[i1Sj[?0[jAj[0[i7Si0u[hi0tj3[k7TChS0O
fgj3s2Tu[B[3bk7][2Cu[3tTbjk7FbBZ`B`hj7hc?7VS1Ci2`3u[j7S0b17`0S1Oj1Cj0`ijbj0Chij?j0cj0[0`j?j3b[1Sj2j0bjk71[?ij7Si?i0[j7Cij7ij3i[k7jk6j;bij[j?/j[k7C1S1Si?fhj1Ck7
egj0[gh1Shij0Sgh1Sk7gi3Chij[j3Vj1[3Sj[jb2C1SjAj1`i]`7ij1[i1j;j/j0[ij3Cij?jAj3Ck7j3`ij;j1/j6k7C0S0[iSfhjBSk7
egj5Sgh3Chij<Cghcj7gi3Chij?j1SSj[1Sj?0`3`j[j7j0`i7C1Cik7Ci?jOj;j1S62//9j0st7tbBb7Vtc2saprsCgijB
egj2gj3rsCh0cgh1bfijBs]sZstc2rst_qstatcBtZsu]aVVCjk6i2Cj627GSj2ij`j7Sj0tCi0[k4`
efhik7egi1j7C/0`ijBIj?j3Cik7Chij1Si1jk70[fi1CiAh0[ij1t[
efhik7egi?jAk7D`fhij1Sj0][fik6i3C
efhi1[egjk7jAj12fgik7Sfij[i?
efhi1Segjk7k7jk7[eghij[i[
fgj31DHCdh1Vbefi;j0`
fgj0b0bdhj3befi1Sj7C
fgjk7C?defgj7j0`
fgjk7DSdefgj3Ck7
fgjk77jk7b7V`3u[2`1u[deghij1S1[
fgjk7`j1[?7T[?673CS?deghij0[2C
fgjk7cj0S`7C[A267S`8dfghi1fjB`
fgjk77Sj2?70[7`1_SBSdfghic
fgjk7D`k7DSA3C3[?247Sdfghj3J
fgjk7CBk71S?3DC?[231Sdfghj76
fgj0u[BcBtRTb?12tVDS[dfgh71S
fgj3ij?/i3b0[;0[3Cdfgijk7C[
ddi0[3C
ddi1S7C
ddi3C7
ddi7j`
ddi1j[
ddi?j[
ddi[k7fgh1[
ddjk7j7fgh2S
ddj0[j[fgij3VC
ddj1Sj[fgijB7
ddj3Ck7fgij7CS
ddj7j1Sfgi3S1
ddj1j3CfgiAk6
ddj?j7fgi3S1S
ddj[j7fgiBjAhij3[
ddk7j0[fgj3[j[hijb?
dd0[j7fgj1`j2hij7CS
defgijk7bij1Sj2fgj2CjAhijA1S
defgij7[;ij6j0[fg1`j0[hij[1S
defgijb0[ij1j1[fg7Cj3Chi0`k7
defgi1`j`ij?j3Sfg`i?hij`j;
defgi7Ck7Ci0[j3Cfhij0`i?hijAj1
defgiAj3Cik7jk7fgAi3Chi1[j1
defgjk7Cj?ijAj0[fhij1[i2hij1j1S
defgj3[j3Cik7jk7CfhijAi1Shik7jk7
defgj2i?ij1jk7fhij1[i7hij7Cj1
defgj`i`ij?j1[ghjbgS1[i7Chi0`j1S
defg0`iAij1j0`ghju[hij3[2Ci2hij7i`
defg3Si[ij?j1[gh1]Shij7Sbi0`hij1i[
defg2i1Sij[j3Sgh7FChijB3[i1Shij`jk7
defg`i3Cik7jk7Chij3h7FShijBF[i1[hijAi[
defhij0`i1Sij[j3ChijB`j7[jA1hij1]7ijAhij3Cj1S
defhij3Si7Cik7jk7hij3[;jb/k7D[hij11Si0[hij7i1
defhij2ij`ij1j0[hik7C1k7CA1[Ahij3Ibij`hij3Cj1S
defhij`ik7Cik7j0`hi0`k7k7j?7C[hij12[ik7Chij?i[
defhi0`ij`ij6j1Shi7C0[7C3D[7hij3VbijAhij1[jk7
defhi3Sik7ij0SjAhi3[j?7j77CAhij27[ik7Chij1i1
defhi7ij7Cij?j1hi3Sj17j77C2hij73`ik7Shij7i2
defhiAij2ij0[j`hi2jk77j3FC2hij23`ij[hij0[jk7
defhi[ij?ij1Sk7hi3Sj3Jj1VC7hij21`ij`hij0`jk7C1S
defhj0`ijAij0[k7hi3Cj1VCju[0[hi1`7Si0`ij0[ij7Cj3C3S
defhj3Sij`ij1S0[hi`iu[j2[0[h1jk7C2Ci3Sij5Sij7i[3[
defhj2Cik7Cij1j`hi[iBCjBS1Sh1S0bk7Ci1Sij3Sij7i`BC
defhjAij3Cij7j[hjk7Sibj0bjAhj7Z`j`ik7Cij7h[j3t
defhk7Cij`ij0[3Shj1`i7Cj2C0[hj1cj3[i3[hjBtb1Vtu[
defh0[ij7h?3Shj0[i3Sj7S0`gAi0bhijBat[7
defh1Sij1h[2hi1ik7CjBj7g7CiBg0[j7C
defh7Cij`ijk73Shj0[j3bAj1`j1g2i1[g1SjA
defh1ij1Sij0[[hi`1tJcj0bj1g2i3[g0[jA
defh`ij7Cij0VChj0[2c3DSj7Ck7g2[j7`gj?j`
defijk7ij0`hBChjk7B[j1[j7Sk7Chij1]b7cgj1[0`
defij0[ij2j7i1`hi7ci3SjBj3Chij0`3tgi2j`
defij3Sij?j7i2Chi3Ci7Cj`j7g2Cgij1S7S
defij7Cik7Cj1j7VCgj1[j2Ck7Chij1cgh[7C
defij1ij3Cj3tc1Sgj0`j7Cj[hijk7Igijk73[
defij?ij2j2c0S0[3j`hij7Ck7Cj?hijk7TCgij12
defik7Cik7jB1[j1TaSu[hij[jAj0[hij1`7g7u[j1FS
defi0`ijA0`k7Cj/`367k7Chj`j1j0`hij0b1Chij7S3j0u[
defi1[ij[1S0bj1Ijc0SBShk7C0`j1Shij3[1Chij?j6j7[
defi3Si0`3Sk7Sj2C0b0T[[h0`j`j0[hij1[k6hij2j0[k7S
defi7Ci1[6j1[j7Sj`1VC[h3[0`j0`hij1`j;hi1`j0[0`
defi2ij11Sj2j1bj7C4[3ChAjbjk7ChijBj1Sij[i7Sj1S7S
defi1ij[3CjAj3[j7jBj[h2jbi`hij3Sj7ij2Cjk7Cj1[6[
defi?ik7k7j0`j3Sj1j`jSh`0bi?i;h0`jk7ijBi7Cjk73Z
defi[i1_FCjbj1[j7C7C0Sij0bk7Cj0[i;Sij0biAik7Cj1[i?B1
defi[i35Ij1[j3Sj2j`j/ijk7S7Sj0`i6/ij0bi3Ci7iAi27DS
defjk7i0u]`jBSj7Cj1k7Ck7ijk7S7Sjk7Ci]Cij2Ci1i0[j2Sjk7FS?
defjk7j0tb3Cj?j1[j1S1Sj?ij7S7Si[i1`ij3[ik7i3[j2Cj7T`3C
defistC3Ck7i`j1[1[j7ij7S7Si?hijAij3Cj1VC7ZS1`RC7
defi1j0SjSk7i?j0[0`j0[i1[0Si3C/gi7jk61tC7tSbj/
defj0u_bsZBZaopqC
defjk7tbsc7s_tu[t7[/BCZ3`h80u[ij8hij3t[hik7i1
defijk7Cj7bi7Cj7C7CfhijShij7
defij0[hj2i`0[fghij3C
defij3Shj`jk7Ce7C
defij7hj3[j0[e0[
defijAhj7C
defij[hjA
defi0`hjA
defi3Shj;
defi7C
defi1
defi`
defjk7
defj1[
defj3C
defj2
defj`
defk7C
def1[
def3C
def2
def`i[j?f0u[j1Sj1c1tS
deghijk7Cj27[7f0S`j1Sj33J7[
deghij1[j1S3Chij6gj7i0bj1S3Chj3
deghij7Cj1[1Chij1gj7i1cj1S3Cjk4ij`
deghij1i3[jBCB]u]b0t3t`2F_[B[j3u[2ci][0tFu_`7R3_b2b
deghij[i1cj70[A3[`27C[70[B/;7C0[7C?i?2j7j[3S[13S`7
deghi0`ij2`1S?3C`73C[11S13C2tC1S3S?i;7C1S3C213[11S?
deghi1Sij1b1SA7C[7k7b3C?3C[3Cjk7C21Sj0tbj?0[3S213C?7
deghi2Ci1C3S?1t0[71S[11S13C1jC1[3S?jk6j`k7j[3S[13C?7
deghi?3i1C1S?3j0`73C[11S13C2C;j[3C?j0[k7C7j[3S[16C?74
deghjk71Ci7C11[Bc0`73Vb1<[u[[1tSjA70bj7`0t7b2`BVt]bBTb
deghj0tCi1t[7b2t2]c7VSA1`[u[0ciBC4Ij1hi0[;i1C
deghjk6hij6j;
defhj3C3
defhj1tS

defhi0S
defh3
defh8
dddfi1


ddjC



degij0C




degijk6
degij0C
deghC
degij0S
degij1[
degij24
degij1S
fghj8
degijk7
degijk6
fg3
deghS


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